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                                                                                 EXHIBIT 10


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           NORTHERN DIVISION

ANGELA RUSSELL, AS ADMINISTRATRIX
OF THE ESTATE OF JEREMY T. RUSSELL
AND ON BEHALF OF THE WRONGFUL DEATH
BENEFICIARIES OF JEREMY T. RUSSELL                                         PLAINTIFF

V.                                                   CASE NO. 3:22-cv-294-HTW-LGI

MANAGEMENT & TRAINING CORPORATION; et al.                                DEFENDANTS

                               RECORDS AFFIDAVIT

      My name is Cindy Freeman and I am an adult resident citizen of Mississippi.

I serve as Director of the Office of Procurement and Contracts for the Mississippi

Department of Corrections and, in my role, I am authorized to make this certification.

I certify that the following 63 pages affixed to this certification represent a true and

accurate copy of the contract documents between VitalCore Health Strategies, LLC

and the Mississippi Department of Corrections that (1) were in effect during and

including September and October 2021 and (2) were filed and recorded in the office

of the Mississippi Department of Corrections as authorized by law. Said documents

include:

10/05/2020 Agreement between Mississippi Department of Corrections and VitalCore
Health Strategies, LLC for Onsite Inmate Care Services (3 pages in total)

Attachment A July 1, 2016 Agreement between Mississippi Department of Correction and
Centurion of Mississippi, LLC for Onsite Health Services (43 pages in total)
Attachment B 06/17/2019 Amendment 1 to the July 1, 2016 Agreement (7 pages in total)
Attachment C 06/30/2020 Amendment 2 to the July 1, 2016 Agreement (3 pages in total)

10/05/2020 Amendment 1 to the 10/05/2020 Agreement (2 pages in total)
07/01/2021 Amendment 2 to the 10/05/2020 Agreement (2 pages in total)




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10/21/2021 Agreement between Mississippi Department of Corrections and VitalCore Health
trategies, LLC for Onsite Inmate Health Care Service (3 page7j2i total)


                                               Cindy Fi eman, Director
                                               Office of Procurement and Contracts

Sworn to and subscribed before me this the      r)    day of --W4-1                     , 2023.



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                                   AGREEMENT BETWEEN THE STATE OF MISSISSIPPI DEPARTMENT OF CORRECTIONS
                                 AND VITALCORE HEALTH STRATEGIES, LLC FOR ONSITE INMATE HEALTH CARE SERVICES


                      THIS AGREEMENT ("Agreement") is entered into as of the 5th day of October, 2020 by and between the
                      State of Mississippi Department of Corrections (Generally referred to as the "State" or the "MDOC") and
                      VitalCore Health Strategies, LLC ("VitalCore"). The MDOC and VitalCore are sometimes referred to
                      herein collectively as the "Parties."

                                                                          WITNESSETH:

                      WHEREAS, the MDOC is responsible for the care and security of inmates within its custody, whether
                      incarcerated in MDOC correctional facilities, county regional facilities or privately operated prisons; and

                     WHEREAS, on July 1, 2016 the MDOC entered into an agreement ("the Agreement") with Centurion of
                     Mississippi, LLC ("Centurion") through RFP No. 16-009 to provide or arrange for the provision of medical,
                     dental, pharmacy and mental health services for inmates in its custody at the following facilities:
                     Mississippi State Penitentiary ("MSP") at Parchman, Mississippi; Central Mississippi Correctional Facility
                     ("CMCF"), and Youthful Offender Unit ("YOU"), at Rankin County, Mississippi, South Mississippi
                     Correctional Institute ("SMCI"), at Leakesville, East Mississippi Correctional Facility ("EMCF"), at
                     Meridian, Wilkinson County Correctional Facility ("WCCF") at Woodville, Walnut Grove Correctional
                     Facility ("WGCF") at Walnut Grove, and Marshall County Correctional Facility ("MCCF") at Holly Springs,
                     (known as the "Facilities"). The Centurion agreement also included responsibilities for services at
                     MDOC's fifteen County regional sites, seventeen Comrnunity Work Centers; and for minimum security
                     Inmates residing at the three male Restitution centers, and the Governor's Mansion (collectively known
                     as the "Satellite Facilities" and Individually as a "Satellite Facility)"; and

                     WHEREAS, the terms of the Agreement between MDOC and Centurion, entered into on July 1, 2016, are
                     provided in Attachment A of this Agreement; and

                     WHEREAS, on June 17, 2019, MDOC and Centurion agreed to amend that Agreement and it is known as
                     Attachment B, Amendment One of this Agreement; and

                     WHEREAS, on June 30, 2020, MDOC and Centurion agreed to amend that Agreement and it is known as
                     Attachment C, Amendment Two of this Agreement; and

                     WHEREAS, on July 7, 2020 Centurion gave written notice of termination as outlined in Section 8.2.2. of
                     the Agreement dated July 1, 2016, by and between MDOC and Centurion of Mississippi, LLC; and

                     The short notice of intent to terminate the Agreement by Centurion has not allowed for adequate time
                     to conduct a fair and competitive procurement process.

                     The MDOC having fully understood the limitations and risks of being without a vendor to provide
                     healthcare services as outlined in the original Agreement between MDOC and Centurion, along with the
                     short notice of intent to terminate the Agreement by Centurion, has not allowed for a full open bid
                     process to establish an alternative vendor. Therefore, requiring the MDOC to take emergency actions to
                     secure an appropriate vendor that can assume all tenants of the Agreement between MDOC and
                     Centurion, as its own; and




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             WHEREAS, VitalCore has the capability and the desire to provide these services as outlined in the July 1,
             2016 agreement and its amendments thereto on an "as is" basis for the period of one year to allow the
             MDOC an appropriate timeframe to create a Request for Proposal (RFP) and solicit competitive
             proposals.

             NOW THEREFORE, in consideration of mutual covenants and agreements contained herein, the "Parties"
             agree as follows:

             ARTICLES I THROUGH ARTICLES XI of the original Contract between MDOC and Centurion, dated July 1,
             2016, will now then be part of this Agreement as "Attachment A" and the amendment dated June 30,
             2020 as "Attachment B" and requires that both the MDOC and VitalCore honor those ARTICLES as
             written.

             ARTICLE XII NON -WAIVER OF BIDDING RIGHTS - VitalCore shall have the right to offer a competitive
             proposal on any RFP for inmate healthcare services released by the MDOC without any prejudice or
             penalty brought on by the signing of this emergent Agreement between the Parties,

             ARTICLE XIII PAYMENT STRUCTURE VitalCore shall be paid for the first month's work in three payments
             for the services rendered. Therefore, VitalCore will turn in a bill for services from October 1, 2020 to
             October 15th and be paid no later than October 22, 2020. A bill for services from October 16, 2020 to
             October 31, 2020 to be paid no later than November 7, 2020. Payments after the October service dates
             will be paid in accordance with the original Agreements set forth in Article 7.2 of the Original
             Agreement.

             VitalCore shall be responsible for Onsite Inmate Health Care Services after 12:00 a.m. October 6, 2020
             until 12:00 am on October 5, 2021 under this Agreement. VitalCore shall have their Regional Office
             established and in place by October 1, 2020 to ensure a smooth transition. VitalCore shall submit all
             bills related to start-up costs prior to October 6, 2020 for consideration for payment. This payment shall
             be limited to actual expenses, shall not include any administrative or profit fee, and be for the sole
             purpose of initiating the services related to this Agreement. The MDOC shall have final approval of
             reimbursement to VitalCore regarding all start-up costs, Requests for reimbursement for start- up costs
             shall not exceed $50,000.00 in total, and shall be included on the first invoice dated October 15, 2020.

             VitalCore and MDOC agree to re-evaluate the payment structure and negotiate an appropriate per
             inmate per day payment if the cost of healthcare, administration, and litigation defense services exceeds
             the monthly payment as outlined in this Agreement.

             ARTICLE XIV LIMITS OF LIABILITY VitalCore shall not be responsible for any work product, grievance,
             litigation, liability, debt, nor any other inmate health care processes prior to midnight October 5, 2020.
             However, VitalCore understands that litigation for declaratory and injunctive relief is pending, is in its
             early stages, and that VitalCore's obligations, duties and responsibilities under this section include but
             are not limited to the duty to defend and indemnify MDOC and its officials and employees in Amos v.
             Taylor, 4:20-CV-07-DMB-JMV (N.D. Miss,) and Lang v. Taylor, 4:20-CV-00030-DMB-RP (N.D. Miss.) after
             October 6, 2020. VitalCore shall be responsible for any work product, grievance, litigation, liability, debt,
             or any other inmate health care process based upon its performance of this Agreement after October 6,
             2020, pursuant to Article X of the Agreement with Centurion


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                IN WITNESS WHEREOF, the Parties hereto have caused their duly appointed representatives to set forth
                hands and seals hereto as of the day and year first above written.


                ATTEST:                                               MISSISSIPPI DEPARTMENT OF CORRECTIONS


                                                                      BY:

                TITLE:                                               TITLE:

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                ATTEST:                                               VITALCORE HEALTH STRATEGIES, LLC


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                                    ATTACHMENT A
To July 1, 2016 Agreement between Mississippi Department of Corrections and Centurion of
Mississippi, LLC for Onsite Inmate Health Services




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                       AGREEMENT BETWEEN THE STATE OF MISSISSIPPI
                DEPARTMENT OF CORRECTIONS AND CENTURION OF MISSISSIPPI, LLC
                            FOR ONSITE INMATE HEALTH SERVICES

        THIS AGREEMENT (this "Agreement") is entered into as of the 1 day of July, 2016, by
        and between the State of Mississippi Department of Corrections (generally referred to
        as the "State" or the "MDOC") and Centurion of Mississippi, LLC ("Centurion"). The
        MDOC and Centurion are sometimes referred to herein collectively as the "Parties".

                                            WITNESSETH:

    Whereas, the MDOC is responsible for the care and security of inmates in its custody,
    whether incarcerated in MDOC correctional facilities, county regional facilities, or
    privately operated prisons; and

    Whereas, MDOC issued RFP NO.16-009, dated December 11, 2015, as amended (the
    "REP") and Centurion submitted a response to the RFP. Centurion's RFP response was
    evaluated to be the most advantageous to MDOC. MDOC now enters into this
    Agreement with Centurion pursuant to the RFP.

     Whereas, the MDOC desires to engage Centurion to provide or to arrange for the
     provision of medical, dental, pharmacy and mental health care services for inmates in
    its custody at the following Facilities on the terms as provided in this Agreement:
    Mississippi State Penitentiary ("MSP") at Parchman, Mississippi; Central Mississippi
    Correctional Facility ("CMCF") and Youthful Offender Unit ("YOU") at Rankin County
    Mississippi; South Mississippi Correctional Institution ("SMCI") at Leakesville,
    Mississippi; East Mississippi Correctional Facility ("EMCF") at Meridian; Wilkinson
    County Correctional Facility ("WCCF") at Woodville; Walnut Grove Correctional
    Facility ("WGCF") at Walnut Grove; Marshall County Correctional Facility ("MCCF") at
    Holly Springs,(known as the `Facilities'). Centurion has responsibilities as provided in
    this Agreement at the fifteen County Regional Sites; seventeen Community Work
    Centers; and for minimum security inmates residing at the three male Restitution
    centers and the Governor's Mansion (known collectively as the "Satellite Facilities"
    and individually as a "Satellite Facility").

    Whereas, the MDOC and Centurion desire to set forth their understandings and
    agreements regarding inmate healthcare services as set forth herein;

    NOW, THEREFORE, in consideration of the mutual covenants and agreements
    contained herein, the Parties agree as follows:

    ARTICLE 1-- AGREEMENT DOCUMENTS
    •
          1.1      Governing Documents. This Agreement and its exhibits, labeled Exhibits
          A through are the sole governing documents.
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    ARTICLE II -- HEALTHCARE AND RELATED SERVICES

    2.1     General Engagement. The MDOC hereby engages Centurion to provide for the
    delivery of necessary onsite medical, pharmaceutical, mental health and dental care
    to individuals under the custody and control of the MDOC and sentenced to and
    incarcerated at the Facilities and Satellite Facilities ("Inmates"). Centurion will
    provide such services consistent with applicable American Correctional Association
    ("ACA") standards, National Commission on Correctional Health Care ("NCCHC")
    standards, constitutional, federal, state, and loca( laws, court orders, consent
    decrees, local regulations and MDOC policies and procedures governing health care
    service delivery. If there is a difference between the above standards and/or laws,
    then the higher standard will be followed. It is understood that the MDOC shall be
    financially responsible for off-site medical services and all specialty service on and off-
    site, unless otherwise specified in Section 2.10 below, for the inmates at the Facilities
    and Satellite Facilities. This will incorporate responsibility for Utilization
    Management, claims adjudication and payment and provider network contracting.

    2.2     Administrative Services. Centurion shall implement administrative components
    and operational policies and procedures necessary for compliance with Agreement
    specifications. The MDOC reserves the right to review and approve policies and
    procedures of Centurion in any areas affecting performance under the Agreement.
    Centurion will design and implement a process to report to the MDOC Chief Medical
    Officer or designee problems and/or unusual incidents in the performance of this
    Agreement, including but not limited to medical, security -related and personnel issues
    that might adversely impact the delivery of health care services. Centurion personnel
    shall abide by and comply with all MDOC policies and procedures.

           2,2.1 Therapeutic guidelines and protocols shall be updated by Centurion
    annually and reviewed by the MDOC Chief Medical Officer.

            2.2.2 The Centurion onsite Medical Director will apprise the
    superintendent/warden or designee of all relevant information regarding inmate
    participation in Centurion-related programs, as well as management and security
    implications of specific health care situations.

            2.2.3 Centurion will provide MDOC with the most current copy of Centurion's
    policy and procedure manual for approval, signature, and distribution to appropriate
    MDOC staff. Inmates will have access to health care policies and procedures based on
    MDOC policy. Centurion wilt also provide MDOC with medical and mental health
    protocols, dental protocols and nursing protocols.

    2.3     Personnel. The base compensation as described in Section 7.2 of this
    Agreement reflects the system -wide complement of staff as set forth in this
    Agreement Exhibit A. This staffing includes the number of full-time equivalents, and
    the distribution of staff among Facilities and Satellite Facilities.

          2.3.1 Full-time equivalent ("FTE") positions are defined to mean positions in
   which the employee or contractor is providing forty (40) hours of service per week.
   The forty (40) hours shall include designated break periods and mid-shift meat periods.
   These hours may be accomplished utilizing full-time, part-time, PRN employees and


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    agency on a "flexible" schedule to maximize efficiency and meet Facility and Satellite
    Facility needs.

            2.3.2 Centurion will confirm that all the required registrations, licenses and
    credentials are active, appropriately unrestricted, and in good-standing for
    professionals contracted or engaged by Centurion to provide services in the Facilities
    and Satellite Facilities. This includes, but is not limited to, medical, dental, physician
    assistant, nurse practitioner, nursing and other licenses, DEA numbers and registration
    with the appropriate Mississippi State Boards. Centurion shall be responsible for
    providing educational services for all health services employees. Centurion's
    contractual relationships with physicians, mid -level practitioners, and dentists shall
    confirm the professionals' pursuit and satisfaction of continuing medical education
    (CME) requirements.

            2.3.3 Centurion will verify with the State the licensure and status of every
    physician, nurse, or other personnel requiring a license to practice his/her profession
    prior to contracting with or employing a healthcare professional to work in Facility and
    Satellite Facilities. A copy of the verifying information wilt be kept in each
    professional's appropriate employment file.

            2.3A Nurse practitioners and physician assistants will work under the clinical
    supervision of a physician contracted or employed under the Agreement, and will
    function in accordance with the applicable regulations for nurse practitioners and
    physician assistants under the applicable Mississippi licensing board.

            2.3.5 Centurion will arrange for the provision of twenty-four hour, seven day
    per week physician or mid -level practitioner coverage on -site or on -call telephone
    coverage for the Facilities. Physician or mid -level practitioner services must be
    sufficient to meet the required needs of the day and medical evaluation/follow-up
    within time limits of nursing triage (including weekends and holidays), including
    infirmary and chronic care management for the Facilities. On-site coverage will consist
    of a minimum of sixteen (16) hours during the weekdays and for MSP, eight (8) hours
    during weekends and holidays. A physician will be on-site during normal working
    hours.

           2.3.6 Effective with the start-of services under this Agreement, licensed
    nursing staff provided by Centurion will assume the duty to administer medication.
    Centurion will utilize trained, dedicated health care staff for the administration of
    medication. All health care staff involved in the administration of medication will.
    complete a formal training program to be provided by Centurion.

           2.3.7 Centurion full time employees and independent contractors who have
   not already attended required MDOC training will participate in required MDOC
   training and orientation programs. Training and orientation hours are considered hours
   worked.

          2.3.8 Centurion employee and independent contractors will be available to
   provide court testimony for medical cases at the request of MDOC and at no charge to
   MDOC. This time shall be considered official business and be counted as hours
   worked.


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             2.3.9 MDOC will have the right to approve key Centurion personnel, and such
     approval shall not be unreasonably withheld or delayed, to include the following
     positions:

            Facility Medical Directors
            Physicians
            Mid -Level Practitioners
            Directors of Nursing
            Site Managers

           2.3.10 Centurion personnel will appropriately assist MDOC in preparation for
     any ACA and/or NCCHC accreditation audit during the contract term.

    2.4     Medical Disaster. Centurion shall have a medical emergency plan that is
    approved by the superintendent at each Facility and the MDOC Chief Medical Officer.
    The medical disaster plan shall be in compliance with ACA and NCCHC standards and
    MDOC policies and procedures. All health care staff and appropriate MDOC staff shall
    be trained in their roles within the context of this plan. Centurion shall provide an
    updated contact list for recall of key health care staff and qualified health care
    professionals. The medical disaster plan will address the following:

    Communications system;
    Recall of key staff;
    Assignment of health care staff;
    Establishment of command post;
    Safety and security of the patient and staff areas;
    Use of emergency equipment and supplies;
    Establishment of a triage area;
    Triage procedures;
    Medical records • identification of injured;
    Use of ambulance services;
    Transfer of injured to local hospitals;
    Evacuation procedures, including infirmary patients (to be coordinated with security
    personnel);
    Practice drills for alt shifts at each site, to be coordinated with Facility drills.

    Personnel at the other Facilities shall be ready, if necessary, to assist a Facility or
    Satellite Facility experiencing an emergency.

    2.5     Emergency Medical Services. In the event of an emergency at a Facility or
    Satellite Facility, health services staff will provide, when required, on -site emergency
    intervention for inmates, staff and visitors as described below. Centurion personnel or
    contractors will coordinate all emergency transfers to designated emergency centers
    with security staff. After a use of force incident or in any case where the shift
    commander or designee has determined that an inmate needs medical attention and
    cannot travel to the Facility's infirmary, appropriate medical personnel, i.e.
    physician, nurse, nurse practitioner or physician's assistant, will render immediate
    health care to the inmate at the location set by MDOC.



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              2.5.1    Centurion will provide emergency services to MDOC employees, official
     State guests, outside contractors, inmates' visitors, or other visitors at each of the
     Facilities, to include medical examination following necessary use of force incidents.
     Centurion will not be responsible for any costs related to emergency transportation of
     MDOC employees, guests, outside contractors and visitors, nor will Centurion be
     responsible for the costs of any offsite services rendered as a result of the emergency
     transportation.

             2.5.2 The Centurion Facility Medical Director or the responsible physician
     must be ACLS certified (up-to-date) and all licensed health care staff will be Basic
     Cardiac Life Support certified (up-to-date) and wilt maintain the Automatic External
     Defibrillator(s) (AED) and emergency response kit(s) that presently exist at the three
     main Facilities.

             2.5.3 Treating physicians at the Facilities and Satellite Facilities will utilize
     troponin testing for inmates who are appropriate candidates in the professional
     judgment of such physicians. The results of such testing along with review from the
     onsite physician will be used to determine the appropriate course of treatment.

              2.5.4 All emergencies requiring a "911 call" or its equivalent will be
     reported immediately to the MDOC designated Facility or Satellite Facility staff
     member and to the MDOC Chief Medical Officer within twenty-four (24) hours, noting
     the elapsed time between the call for assistance and the arrival of trained personnel.
     Healthcare personnel at each Facility and Satellite Facility will maintain an on -site log
     of all such calls for review by MDOC officials. Centurion shall provide Facilities and
     Satellite Facilities with recommended procedures for notifying Centurion and the
     MDOC in emergencies.

            2.5.5 Centurion will implement the following emergency procedures, to
     include but not limited to:

        •   Centurion will confirm that all medical staff is aware of procedures to provide
            emergency medical care to any inmate.
        •   Emergency services will be available for acute illness or conditions that cannot
            wait until scheduled sick call.
        •   Emergency services will be available through physicians, other health care
            staff; Centurion arranged local ambulance services.
        •   Centurion will provide specific written procedures for medical emergencies as
            approved by the MDOC Chief Medical Officer.

    Emergency health services will be provided at ail Facilities and Satellite Facilities by
    qualified health care staff and in accordance with NCCHC and ACA Standards.
    Centurion shalt make provisions and be responsible for twenty four (24) hour
    emergency medical, mental health and dental care, including twenty four (24) hours;
    seven (7) days per week on call availability. MDOC shalt ensure availability of
    indicated emergency treatment with community agencies, when available. The on -
    site physician or designee will coordinate emergency transfers with site security staff.
    Mississippi State Penitentiary, Central Mississippi Correctional Facility, South
    Mississippi Correctional institution, East Mississippi Correctional Facility, Wilkinson
    County Correctional Facility, Marshall County Correctional Facility, and Walnut Grove


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     Correctional Facility wilt have at a minimum, appropriate qualified health care
     professional staff on-site twenty four (24) hours per day, seven (7) days a week.

     2.6      Continuous Quality Improvement. Centurion shall maintain a program of
     Continuous Quality Improvement (CQI) Program and Professional Peer Review at each
     Facility and Satellite Facility, which will include, but not be limited to, audits and
     medical record review. Peer reviews shall occur no less than annually. The CQI
     program wilt use multi -disciplinary committees and must involve all health care
     disciplines during the calendar year. Morbidity and Mortality review must come under
     the scope of the CQI program,

           2.6.1 All inmate deaths will be treated in accordance with the Mississippi
    State Statute regarding unattended deaths. Centurion shall comply with the
    applicable state statutes, as well as the performance and conduction of a mortality
    review by appropriate personnel. Centurion shall comply with MDOC policies and
    procedures regarding an inmate's death. A report of the mortality review and
    mortality survey will be submitted by the Centurion site Medical Director or Centurion
    Corporate Medical Director to the MDOC Chief Medical Officer or designee within
    seventy-two (72) hours of the inmate death. Centurion medical personnel will be
    expected to notify the MDOC Commissioner, MDOC Chief Medical Officer, and MDOC
    HSA of any inmate death within their care no greater than 24 hours status post death.

            2.6.2 The medical staff will convene monthly with MDOC representative(s)
     and staff to discuss issues relevant to medical care in the system. Attendees will
    include the site Medical Director, designated site dentist, site administrator, site
    Director of Nurses, and designated site mental health representative. Centurion shall
    chair this meeting with input from the MDOC Health Services Administrator. Centurion
    shall provide an administrative support person to document in writing the content of
    the meetings and decisions made. Meeting documentation will be given to the MDOC
    Health Services Administrator within seven (7) days of the meeting. Other employees
    or providers may be invited to attend, Centurion will be responsible for all costs
    including transportation, housing and such other reasonable expenses associated with
    this meeting for Centurion employees' participation. Centurion shall provide a quality
    management program to support the provision of the comprehensive health service
    program. Quality management support services shall be system -wide and shall be in
    place within six (6) months following commencement of services under this
    Agreement. Centurion shall provide written documentation to substantiate these
    services.

            2.6.3 Centurion shalt provide a peer review of all primary care providers to
    include the physicians, psychiatrists, dentists, nurse practitioners, physician
    assistants, licensed nurses and PhD level psychologists, conducted on no less than an
    annual basis with the first round of peer reviews completed prior to the beginning of
    the second contract year. This is designed to monitor and enhance patient care. Peer
    review shalt include such activities as chart review, medical treatment plan review for
    special needs inmates, review of off-site consultations, specialty referrals,
    emergencies, and in-patient and outpatient hospitalizations. The completion of the
    reviews shall be appropriately documented. Where possible or appropriate to affect
    the purposes of peer review, such proceedings will be conducted in accordance with
    applicable peer review statutes or regulations and applicable confidentiality


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     requirements. The results of every Peer Review shalt be forwarded to the MDOC Chief
     Medical Officer as part of the required quarterly reports.

    23       Receiving Screening and Health Assessments. Receiving screenings shall be
    performed by qualified healthcare personnel on all inmates immediately upon their
    arrival at the Facilities, and will result in appropriate disposition, and/or treatment in
    accordance with the prescribed NCCHC or ACA standards and MDOC policy. At a
    minimum, the receiving screening should include the following inquiries: medical
    history, mental health conditions, urgent dental needs, medication therapy, and
    special needs. The receiving screening shall be documented in the Electronic Health
    Record, EHR. Health assessments and physical examinations shall be completed
    within ACA and NCCHC guidelines. If an inmate is transferred to another Facility or
    Satellite Facility, the receiving screening report and health assessment shall be
    available in the EHR to be reviewed by the receiving Facility or Satellite Facility
    Medical Director or designated provider.

            2.7.1 Comprehensive health assessment and health history shall be performed
    by a qualified health care professional for each newly admitted inmate to the MDOC
    system within seven (7) days of admission and in accordance with NCCHC and ACA
    Standards. The comprehensive health assessment shall include review of earlier
    receiving screening, physical examination, and collection of additional data to
    complete the medical, dental, psychiatric, and immunization histories, as outlined in
    NCCHC and ACA standards.

    2.7.2          Communicable and STD disease testing are mandatory components of all
    intake health assessments. Centurion shall conduct a TB test for each new inmate of
    MDOC utilizing the 1ST and IGRA as clinically appropriate. If an inmate fails/refuses to
    comply with mandatory intake disease testing, the inmate will be placed in medical
    isolation. The MDOC Chief Medical Officer, the Centurion Facility Medical Director,
    the Superintendent and appropriate Facility authorities will be notified. If a newly
    admitted or transferred inmate has a positive tuberculin skin test, an IGRA blood test
    shall be performed. If the inmate is symptomatic or HIV positive, the inmate should be
    isolated immediately until IGRA results, chest x-ray and sputum results have been
    received. Active tuberculosis will be treated in collaboration with the State of
    Mississippi Department of Health TB consultants. The inmate will be evaluated for
    preventive therapy if active tuberculosis is not diagnosed. Preventive therapy (LTBI)
    will be in compliance with Centers for Disease Control (CDC) and State of Mississippi
    Department of Health guidelines utilizing the 12 week regimen of lsoniazid (INH) and
    Rifapentine. The Mississippi State Department of Health (MSDH) shall be notified
    within twenty-four (24) hours of any case of active TB to participate with management
    of such inmates.

    Centurion shall conduct an annual TB test for each MDOC inmate during annual
    statewide TB testing utilizing 1ST and IGRA as clinically appropriate.

    When a free-world TB patient is confined at an MDOC facility by court order, MSDH will
    be responsible for diagnosis, treatment and management of the patient's infectious
    disease state(s). Centurion will be responsible for other basic healthcare, particularly
    for acute care purposes.



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             2.7.3 When an inmate is readmitted to MDOC, his/her health status shall be
     updated. In the absence of significant changes in previous health status, the full
     assessment does not need to be repeated if a routine assessment has been completed
     within the past ninety (90) days.

            2.7.4 Centurion shall be responsible for reporting HIV/AIDS data to the MDOC.

            2.7.5 Mental health evaluation shall be in compliance with ACA and NCCHC
     standards of care and shall be performed by a mental health professional within time
     frames outlined in the standards.

     2.8     Primary Medical Care. Centurion shalt provide or arrange for the provision of
     on-site primary and preventive health care services in accordance with ACA and
     NCCHC Standards at each Facility and Satellite Facility covered by this Agreement.

    2.9   Sick Call. Centurion heatthcare personnel or contracted providers shall
    conduct sick call within the parameters of applicable ACA and NCCHC standards.

             2.9.1 MDOC inmates will be triaged within 24 hours of receipt of the sick call
     request. Sick call requests (SCR) shall be date-stamped received within twenty-four
     (24) hours of the inmate completing the SCR form. Sick call triage shall be conducted
    in a face-to-face encounter by a licensed nurse, operating within the scope of practice
     for their particular license, trained in triage each day at times that are coordinated
    with Facility staff and will not deter inmates from seeking care. Those inmates
     requiring evaluations beyond the capabilities of the triage nurse shall be referred to
    the physician or mid-level practitioner, such as a physician assistant or nurse
    practitioner. Non -emergent requests shall be evaluated by the physician or mid -level
    practitioner within seven (7) calendar days of the original receipt. The mid -level
    practitioner will perform evaluations and treatments within his/her scope of practice,
    referring appropriate patients to the primary care physician as indicated. If an
    inmate's custody status precludes attendance at sick call, then MDOC and healthcare
    personnel win cooperate to make arrangements to provide sick call services at the
    inmate's housing unit. Sick call triage will be conducted at the Community Work
    Centers twice monthly for all male institutions and weekly for the female institution
    by a nurse designated by the assigned parent institution.

           2.9.2 Nursing staff will conduct and document daily (including weekends)
    rounds through all segregation units.

           2.9.3 Centurion personnel will not perform medical experimentation or
    research that violates Mississippi statutes in any MDOC Facility or Satellite Facility and
    Centurion will inform its independent contractors of this MDOC prohibition.

    2.10 Specialty Medical Care Services. Centurion shall be responsible for the
    following specialty care services at the Facilities and Satellite Facilities: optometry,
    radiology, dialysis, audiology, STD, HIV and TB care. Centurion shall be responsible for
    maximizing the use of telemedicine technology to provide timely, responsive care and
    to minimize transportation and security expense. Centurion shall utilize telemedicine
    and the 3408 program for HIV care. MDOC shall be financially responsible for all other
    specialty care services, specifically including all Hepatitis C medications, specialty


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     medications for bleeding disorders and HIV medication costs in excess of those set
     forth in Section 7.2.1. Centurion personnel and contracted providers shall direct
     medical services referrals to the MDOC Specialty Care Coordinator to make
     arrangements with specialists for the treatment of those inmates with health care
     problems that may extend beyond the primary care services provided on-site at the
     Facility or Satellite Facility. It shall be the responsibility of Centurion to track and
     follow-up on such referrals.

             2.10.1 Centurion personnel shall endeavor to work with the MDOC Specialty
     Care Coordinator department to consolidate the scheduling of appointments and
     services for inmates with community physicians, hospitals and other health care
     providers and services to minimize the impact upon security staff and available
     vehicles.

            2.10.2 All orders involving any special procedures or non -routine follow-up
    must be documented and communicated in writing, as an order between the
    consultant and a physician, licensed nurse, nurse practitioner or physician's assistant.
    All such specialty orders are subject to review and approval by the MDOC Chief
    Medical Officer. Specialty consultants will prepare their specialty consultation form
    and return it with security to medical. Medical personnel shall enter the consultation
    form into the inmate's medical record, EHR, according to EHR protocols. Centurion
    will be responsible for laboratory and pharmaceutical services that result from the
    specialty consult other than all Hepatitis C medications, specialty medications for
    bleeding disorders and HIV medication costs in excess of those set forth in Section
    7.2.1.

            2,10.3 The positive results of all tests and consultations will be conveyed
    timely to the inmate after receipt by Centurion health care professionals. Negative
    results or findings within normal limits may be communicated at a scheduled clinic
    encounter, however, at the time of the test, the inmate wilt be told that he should
    assume negative findings unless told otherwise.

    2.11 Inpatient-Infirmary Medical Care Services. Centurion personnel shall utilize the
    Facility inpatient infirmaries at CMCF and SMCI and the inpatient unit at MSP as
    appropriate to manage onsite care (e.g. where a patient's condition can be
    appropriately and effectively treated in the infirmary setting or at the MSP inpatient
    unit). The Facility inpatient and infirmary units shall conform to ACA and NCCHC
    standards of care. The MSP inpatient unit shalt comply with State of Mississippi
    Hospital Licensing Standards. The Facility and inpatient units shall be staffed twenty-
    four (24) hours per day, seven (7) days per week by sufficient and appropriate
    qualified health care professionals. The MDOC Chief Medical Officer reserves the right
    to admit and/or discharge inmates from any MDOC facility infirmary. Operation and
    management of the infirmary shall include:

           2.11.1 On site inpatient unit and infirmaries will meet all applicable Mississippi
    and local statutes and licensing requirements.

           2.11.2 On-site supervision of the infirmaries by a registered nurse who is
    present daily for each shift.



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            2.11.3 A physician or mid -level practitioner shall be on-call twenty-four (24)
     hours per day, seven (7) days per week, immediately available for telephone
     consultations and within one (1) hour of the facility if needed onsite.

            2.11.4 All inmate patients are within sight and sound of a qualified health care
     professional.

             2.11.5 infirmary rounds shall be conducted and documented by a physician or
     mid -level provider daily including weekends. Progress notes entered by mid -levels
     must be reviewed and/or counter-signed by the responsible physician within five (5)
     working days or as otherwise required by law or regulation. Nursing rounds will be
     made daily, not less than once per scheduled shift or more often as ordered by the
     practitioner.

            2.11.6 A manual of nursing care policies and procedures to be followed for
     inpatient, skilled, or infirmary care.

            2.11.7 A complete in -patient record for each patient admitted to the infirmary
    will include physician or mid-level practitioner order for the admission, admission
    work-up, problem list and discharge planning. The admission work-up notes shall
    include the statement of the problem or complaint, the findings of the appropriate
    clinical exam, the assessment to its highest level of resolution (may include several
    rule-out diagnoses) and the infirmary plan. The plan must include expected length of
    stay, the need for vital signs and the need for any additional diagnostic studies. The
    plan should also contain special diet requirements and level of acuity. All infirmary
    encounters shall be documented in the inmate's medical record.

           2.11.8 Discharge planning with discharge note is required prior to discharge
    from the infirmary. The discharge note must include an up-to-date problem list, final
    diagnosis, and assessment of the resolution of the problem, discharge medications and
    scheduled return appointment to the physician if necessary and ordered. Discharge
    must be ordered by the responsible physician or mid-level practitioner. Designated
    MDOC officials wilt be advised of the discharge plan regarding housing or work
    implications.

           2.11.9 An infirmary log of inmates, diagnoses, and treatments shall be
    maintained and submitted to the MDOC Utilization Review team daily.

           2.11.10 Sheltered housing units may be maintained at Facilities without
    infirmary units. All sheltered housing encounters shalt be documented in the inmate's
    medical record by qualified health care personnel.

    2.12 Tertiary Medical Care Services. MDOC shall be responsible for all necessary
    hospitalization services for inmates incarcerated in the Facilities and Satellite
    Facilities. At the Facilities, Centurion site personnel or contracted providers must see
    that inmates whose medical conditions require non-emergent care are referred to the
    MDOC Specialty Care Coordinator to be hospitalized or given off-site consultations.
    MDOC will be responsible for security provisions and scheduling provisions. Inmates
    requiring emergent offsite care shall be transferred to an offsite emergency room for



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     care. Centurion personnel shall coordinate emergency transport with appropriate
     security staff.

     2.13 Oral Health Care Program. Dental care services are to be provided to inmates
     incarcerated in the Facilities in accordance with ACA and NCCHC standards. All dental
     services shall be provided under the direction and supervision of a dentist licensed by
     the State of Mississippi.

             2.13.1 At those Facilities that have no on-site or mobile dental facilities,
     Centurion personnel will coordinate with MDOC to provide for the transportation of
     inmates for dental care, and will do so to minimize transportation and security time.
     Emergency dental care wilt be available on -call twenty-four (24) hours per day/seven
     (7) days per week by a qualified dentist or by a qualified health care professional as
     the need may dictate. Dental emergencies shall receive an evaluation within twelve
     (12) hours of complaint.

             2.13.2 Dental screening and oral hygiene instructions shall be performed within
     seven (7) days of admission of an inmate to the custody of MDOC. A dental
     examination is to be performed within one (1) month of admission. Dental prophylaxis,
     including a thorough and complete dental examination, cleaning, and treatment plan,
     shalt be performed on all MDOC inmates at least every two (2) years.

             2.13.3 Dental treatment, not limited to extractions, is to be provided in
     accordance with the dentist's professional judgment, provided that it is in no manner
     detrimental to the inmate's health. The priorities of treatment are to eliminate pain,
     swelling or infection and preserve and maintain the inmate's oral integrity. Each
    inmate will have access to the preventive benefits of fluoride treatment in a form to
    be determined by the dentist and appropriate for the individual. Routine dental
    prophylaxis and evaluations by a dentist shall be performed within two (2) years from
    the date of the last treatment or exam. Two year dental visits shall be a separate
    encounter to include a "SOAP" describing services provided. This should be a
    comprehensive examination. Centurion shall, by priority of need, maintain a schedule
    of each inmate being seen by the dental staff to meet ACA Standards. in cases of
    readmitted inmates who have received a dental examination within the past ninety
    (90) days, a new exam is not required, except as determined by the supervising
    dentist. The readmitted inmate shalt fall into the routine evaluation schedule based
    on the date of the last examination. Permanent dental prosthetics (full and partial
    dentures), as described below, will be provided to inmates within ninety (90) days of
    the initial date of the denture mold.

            2.13.4 As appropriate and as determined by a dentist, Centurion shall provide
    the following services:

               •   Extraction of teeth, which are not restorable due to infection, decay,
                   periodontal disease, or trauma;
               •   Restoration of teeth;
               •   Periodontal treatment - non-surgical treatment of periodontal disease
                   to include deep cleanings and polishing;




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                 •   Root canal treatment on front teeth which have good bone support and
                     enough remaining tooth structure to restore, to include crown work on a
                     limited basis based upon the inmate's oral history and condition;
                 •   Full dentures shall be provided to inmates who are edentulous or who
                     are edentulated while in the Facility; and
                 •   Partial dentures shalt be provided to inmates who lack enough teeth to
                     function adequately, i.e. three or more opposing teeth, to be able to
                     chew.

             2.13.5 Dental laboratory services shall be the responsibility of Centurion.

     2.14 Mental Health/Psychiatric Services. The delivery of comprehensive mental
     health services to inmates incarcerated in the Facilities shall be in accordance with
     NCCHC and ACA Standards of Care. Written policies and procedures guiding mental
     health services shalt be available for individual sites. Centurion personnel will work
     closely with MDOC Mental Health Director or designee.

              2.14.1 A physician or designee will examine all inmates isolated for psychiatric
     purposes within 24 hours of confinement. Medical evaluation will support medical
     confinement of inmates based on risk of physical danger to self or others. A medically
     trained professional and/or a qualified mental health professional will make rounds in
     the housing unit for all inmates who are segregated from the general population a
     minimum of three days a week. Only a physician or licensed mental health
     professional, after consulting with designated MDOC officials, may determine when an
     inmate should be returned to the general population. All inmates referred for mental
     health evaluation will receive a comprehensive diagnostic examination, including an
     update to the psychosocial history and a mental status evaluation. The examination
     will include an assessment of suicidal risk, potential for violence, and special housing
     needs.

            2.14.2 The mental health professionals shall provide or be responsible for:

            a.   Completing and submitting psychological evaluations requested by MDOC;
            b.   Screening and referring inmates for psychiatric or psychological evaluation;
            c.   Crisis intervention to all inmates;
            d.   Crisis assistance through an established on-call system;
            e.   Completing diagnostic and classification reports designated by MDOC;
            f.   Individual and group therapy;
            g.   Providing and/or assisting with critical incident debriefing;
            h.   Providing additional mental health information and/or evaluations;
            i.   Providing monthly face-to-face interviews with every inmate on
                 psychotropic medication; and

            2.14.3 Qualified mental health staff will provide therapeutic treatment
    programs to include, but not be limited to, crime victim awareness, sex offender, and
    anger management. Mental health staff shall be qualified, trained, certified and
    licensed in the provision of listed intervention programs. Individual and group
    counseling will be provided based on inmate need. Inmates with serious mental illness
    wilt receive priority in receiving these services. Topics for group therapy will be
    determined by the need of each Facility inmate population.


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            2.14.4 The contracted/employed site psychiatrist at each Facility will be
     responsible for:

            a. Prescribing and monitoring psychotropic medications;
             b. Conducting ninety (90) day face-to-face interviews/evaluations of all
                 inmates on psychotropic medications (including tetepsychiatry where
                 applicable);
            c. Providing psychiatric evaluation and examination on inmates referred by
                 mental health or medical staff;
            d. Providing psychiatric treatment for inmates displaying serious and
                 persistent mental illness;
            e. Consulting and assisting mental health staff with treatment and care of
                 identified special needs inmates;
            f. Consulting with designated mental health policy and procedures (e.g.,
                 management of suicidal inmates, therapeutic restraints, and forced
                 medications);
           g. Coordinating the transfer of those inmates with severe mental health
                problems to EMCF, as clinically indicated, through coordination with the
                MDOC Administrative Psychologist;
           h. Accepting and tracking those inmates transferred from EMCF to other
                Facilities who are stabilized and considered functionally able to be housed
                in a less restricted environment;
           i. Requesting the transfer (through the MDOC Administrative Psychologist ) of
                inmates in Facilities that do not have on site mental health care to an
                MDOC facility with mental health professionals to receive an evaluation and
                treatment; and
           j. Monthly review of EMCF-eligible inmate mental health records for referral
                to the MDOC Administrative Psychologist.

            2.14.5 if a psychiatrist is not designated to the Facility, the Facility physician
    will assume these responsibilities. The contracted/employed Facility site physicians
    will also refer inmates, as appropriate, for psychiatric evaluation. A Facility
    psychiatrist or physician shall be available for crisis assistance, i.e., MDOC crisis
    stabilization program implementation, twenty-four (24) hours/day, seven (7)
    days/week.

           2.14.6 inmates referred by qualified MDOC or Centurion mental health staff for
    routine psychiatric evaluation upon intake will be seen by a psychiatrist within five (5)
    working days for initial urgent mental health screenings and fourteen (14) calendar
    days for all other referrals. inmates initially prescribed psychotropic medication will
    be monitored monthly for three (3) months and then, every ninety (90) days thereafter
    or more frequently as deemed necessary by the prescribing psychiatrist,

            2.14.7 Centurion will develop and implement mental health services and the
    provision of licensed mental health staff for crisis stabilization and suicide precaution
    within the Unit 42 mental health unit. The mental health unit shall be staffed twenty-
    four (24) hours/day, seven (7) days/week by licensed and qualified staff to provide
    mental health services and monitoring of mental health status, to include emergency
    mental health evaluations. A qualified mental health professional will supervise


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     operation of the mental health unit. Staff assigned to the unit shall be licensed and
     shall have experience and knowledge in the care of mental health patients.

            2.14.8 Centurion will provide on-call crisis intervention, mental health
     consultation, or direct services at all of the Facilities twenty-four (24) hours a day,
     three hundred sixty-five (365) days per year for crisis response in cases of inmates
     with suicidal ideation, treatment of inmates experiencing psychotic disorders or who
     are experiencing emotional/cognitive disorder.

            2.14.9 Centurion will provide training to all casework and security staff in
     mental health dynamics (i.e. suicide prevention, crisis management), mental health
     treatment, assessment of treatment plans and crisis intervention.

            2.14.10 Inmates housed in administrative or disciplinary segregation shalt be
     evaluated in accordance with ACA and NCCHC standards and MDOC policies and
     procedures. Centurion shall provide mental health services and treatment plans for
     inmates housed in administrative and disciplinary segregation.

     ARTICLE III -- ANCILLARY AND OTHER SERVICES

     3.1     Laboratory Services. Centurion shall arrange for the provision of routine
     laboratory/diagnostic services. Services will include laboratory/diagnostic supplies,
     capability for tab pick-up and delivery daily (Monday through Saturday), a printer to
     provide test results at each Facility and interface with the electronic health record,
     reporting capability within twenty-four (24) hours and personnel capable of performing
     the appropriate collection procedures. All on -site qualified health care professional
     staff shall be trained in the collection and preparation of laboratory specimens.
     Laboratory/diagnostic services may be subcontracted by Centurion and shall comply
     with all federal and state standards.

            3.1.1 Lab services shall include the capability to provide some on-site
    diagnostics with immediate results to include at a minimum: finger-stick blood
    glucose testing, urine analysis dip stick, urine analysis pregnancy test, rapid strep test,
    guaiac stool test, troponin I, and peak flow testing. Where separate diagnostic
    services are provided on -site, a procedure manual is to be developed and kept current
    for each service, to include the procedures for the calibration for accuracy of testing
    devices. Centurion will arrange for the drawing of blood in appropriate vials supplied
    by the Mississippi Crime Lab or cheek swab collection for DNA samples on all sex
    offenders and any others as required by Mississippi State law or mandated by court
    order.

            3.1.2 The physician or mid -level practitioner (PA or NP) shall review all
    routine laboratory results within twenty-four (24) hours of receipt to ensure proper
    treatment and follow-up care. Any grossly abnormal results or laboratory values shalt
    be communicated to the physician or mid-level practitioner immediately. A record of
    the date and time of this communication, as well as resulting intervention orders is to
    be documented in the inmate health care record. It shall be the responsibility of the
    qualified health care professional receiving the lab results to initiate appropriate
    intervention and to communicate positive or negative findings to the affected inmate.



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             3.1.3 Centurion or its subcontracting laboratory shall provide a copy of
     its/their Standard Operations Procedure Manual (SOP) to the MDOC Chief Medical
     Officer and each MDOC Health Services Administrator.

             3.1.4 Centurion or its subcontracting laboratory shall be capable of providing
     the level of required reporting for purposes of quality improvement and utilization
     review.

            3.1.5 Pap smears shall be performed at initial intake and offered annually to
     each female MDOC inmate.

     3.2    Pharmacy Services. Centurion shall provide or arrange for the provision of
     pharmaceutical services in accordance with ACA and NCCHC standards for inmates
     incarcerated in the Facilities and Satellite Facilities. These services shall be sufficient
     to meet the needs of each Facility. Centurion and its pharmacy subcontractor shall
     abide by all applicable federal and state regulations relevant to prescribing,
     procurement, dispensing, administration, distribution, accounting, and disposal of
     pharmaceuticals. Centurion or its pharmacy subcontractor shall be responsible for all
     mandatory record keeping and accountability applicable to all legal requirements.

            3.2.1 MDOC and Centurion agree to utilize the existing joint physical
    inventory taken of all pharmaceutical supplies and drugs as of July 1, 2016. The
    accepted inventory shall be priced at the lower of cost or market value. At the end of
    this Agreement, a similar inventory shall be taken and priced. Any increase in the
    value of the inventory received over the value of inventory at the end of the contract
    shall be payable to Centurion, and any decrease in the value shall be payable to the
    State. Should the Parties agree to utilize the services of an independent third party to
    prepare this inventory, the cost of same shall be acceptable to and split equally
    between the Parties.

            3.2.2 Centurion, in conjunction with its pharmacy subcontractor, shall
    develop a proposed formulary and submit a copy thereof to the MDOC Chief Medical
    Officer for review and approval. The formulary shall be utilized for the majority of
    prescribed medications, and deviations will be documented clinically in the medical
    record. Any proposed formulary changes must be submitted to MDOC for review and
    approval prior to implementation. The MDOC approved formulary will be distributed
    to all MDOC Facilities and Satellite Facilities. Centurion will provide written
    procedures for non -formulary requests and approvals. Specialists in the MDOC
    preferred provider network will be allowed to order from the formulary. Non -
    formulary requests must be approved by Centurion.

            3.2.3 Administration of pharmaceuticals/medications shalt be upon the order
    of a physician, dentist or other authorized licensed individual with designated
    prescriptive authority, such as a physician assistant or nurse practitioner. Centurion,
    or its pharmacy subcontractor, will ensure a method by which to notify the prescribing
    authority of the impending expiration date of a medication order. This will allow the
    prescriber to review therapeutic response to the medication and permit continuation
    or modification of the medication order.




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             3.2.4 Centurion or its pharmacy subcontractor shall be responsible for the
     procurement, payment, inventory control, dispensing and disposal of all
     pharmaceuticals with the exception of Hepatitis C medications and specialty
     medications for bleeding disorders, the full cost of which shall be borne by MDOC, and
     costs for illy medication in excess of those set forth in Section 7.2.1. The pharmacy
     program will include the following parameters:

            a. Medication will be prescribed only by a physician, physician assistant/nurse
                practitioner, psychiatrist, or dentist;
            b. Verification of al( questionable medication orders or drug prescriptions with
                the prescribing provider;
            C. Oversight of the pharmacy program by a pharmacist licensed in the State of
               Mississippi who wilt conduct periodic audits and participate in quarterly
                Pharmacy and Therapeutics and CQI Committees;
           d. Ordered medications not administered will be returned to the pharmacy;
           e. Establishment of an inventory control system to affect availability of
               necessary drugs and to protect against loss of pharmaceuticals and
               controlled substances;
           f. Storage of all controlled substances, syringes, needles, and surgical
               instruments under security conditions; maintenance of a daily recorded
               inventory of controlled substances;
           g. Development of a policy to address medication refusals;
           h. Development of medication dispensing procedures;
           i. Institution of automatic stop orders for various drug categories;
           j. Routine review of all prescriptions;
           k. Documentation of all medication administration, to include any ordered
               medication not administered with reason given;
           I. Preparation, maintenance, and retention of all drug records in accordance
               with all state and federal taws and regulations;
           m. Adherence to the Federal Controlled Substances Act and the State
               Pharmacy Act and compliance with NCCHC Standards; and
           n. Arrangement for emergency stat medications through local pharmacies as
               necessary.

            3.2.5 A stocked emergency drug kit shall be available at all. Facilities. An
    adequate supply of emergency drugs will be available to meet the needs of each
    Facility.

            3.2.6 Stringent security standards shall be utilized with the storage,
    dispensing, and accountability for DEA controlled substances, needles, syringes, and
    other items that have an abuse or security potential. The maximum duration of a
    controlled substance prescription will be thirty (30) days.

           3.2.7 When there is no staff pharmacist on -site, Centurion or its pharmacy
    subcontractor shall engage a consulting pharmacist who shall be utilized for quality
    assurance pharmacy inspections, visits and consultations on a regular basis, not less
    than quarterly_

           3.2.8 A program of self-administration Keep on Person ("KOP") medications
    with strict accountability may be implemented among those inmates who meet


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     program criteria as mutually agreed upon by Centurion, in conjunction with its
     pharmacy subcontractor, and the MDOC Chief Medical Officer for use in all MDOC
     Facilities and Satellite Facilities. Federally DEA controlled medications,
     anticoagulants, medications with narrow therapeutic windows, medication for the
     treatment of HIV/AIDS, or preventive tuberculosis therapy shalt not be administered
     through the use of the KOP Program. Inmates who demonstrate non-compliance or
     lack of responsibility shall be removed from this program and reported to facility staff.

              3.2,9 Centurion or its pharmacy subcontractor shall develop and implement a
     Continuous Quality Improvement (CQI) program for the pharmacy program at the
     Facilities demonstrating a knowledge and focus on outcome measures and indicators.

            3.2.10 Centurion or its pharmacy subcontractor shall develop a pharmacy and
    therapeutics committee that meets quarterly (or more frequently as needed) to
    discuss medication administration utilization patterns, success or corrections needed,
    issues associated with the approved formulary and any problems arising from
    pharmacy activities at the Facilities and Satellite Facilities, medication error review,
    adverse drug reaction review, policies and procedures review, provider prescription
    practices. Committee meetings shall be documented with the minutes provided to the
    MDOC Chief Medical Officer within seven (7) days of the meeting.

             3.2.11 To facilitate continuity of care, whenever any inmate receiving
    prescription medication is discharged, paroled, or released on ERS, or remanded on
    court order, a supply of medication of either the remainder of the prescription or a
    thirty (30) day supply at the discretion of the prescriber shall accompany the inmate.
    Centurion healthcare personnel will coordinate with community healthcare providers
    to give H1V/AIDS, dialysis, chronic disease patients, and TB patients specific referral
    for follow-up. Notification to the State Department of Health shall be given for TB and
    HIV positive patients.

    3.3    EKG Services. Centurion shall provide EKG services, equipment, and supplies at
    the Facilities with on-site twenty-four (24) hour, seven (7) days a week coverage.
    Services shall include:

           3.3.1 Training and orientation of all designated qualified health care
    professional staff;

           3.3.2 Printed EKG rhythm strip and computerized interpretation report within
    ten (10) minutes; and

           3.3.3 Appropriate referral of inmates with an abnormal EKG to a cardiologist
    for evaluation as recommended by the onsite attending physician.

    3.4     Radiological Services. Centurion will provide routine radiology services on -site
    by Centurion's radiology technician or contractual provider at those Facilities that
    have radiology (x-ray) units. Radiology services for Satellite Facilities that do not have
    radiology units will be provided by Centurion through return of the inmate to the
    parent Facility, or by provision of services on site if available. All supplies and
    materials necessary for the provision of on -site radiology services at the Facilities that
    have x-ray units shall be the responsibility of Centurion.


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             3,4,1 A licensed radiologist wilt interpret alt radiographs. Radiographs are to
     be interpreted on the same day or the next workday, with written results received
     within 48 hours after reading. A physician or mid -level practitioner shall review all
     written radiograph reports the workday following the receipt of the written report.
     The physician or mid-Level practitioner shalt be responsible for communicating the
     results to the inmate in a timely manner.

             3.4.2 For procedures, such as fluoroscopy or special studies, which are
     beyond the capacities of on-site equipment, the inmate will be transported to an off -
     site referral facility capable of performing the diagnostic procedure. The specialty
     consultation referral procedures shall be used for such referrals.

             3.4.3 Centurion shalt arrange for inspection, and calibration of on-site
     radiology equipment per manufacturer specified schedule. Centurion will provide all
     supplies and ancillaries needed to operate said equipment. Centurion is responsible
     for providing required certifications and equipment readings to the MDOC for use with
     any/all required OSHA reporting, standards and guidelines.

     3.5     Dialysis Services. Centurion shall provide or arrange for the provision of onsite
     renal dialysis services at CMCF for dialysis patients. Centurion shall post a monthly
     schedule of renal dialysis services and submit the schedule to the MDOC HSA at CMCF
     monthly. Centurion shall provide or arrange for the provision of all appropriate
     equipment, supplies, and medical personnel necessary for complete renal dialysis.
     MDOC will supply water and electricity at no cost to Centurion. MDOC will assign
     inmates requiring dialysis services to CMCF for housing.

     3.6     Optometry Services. A licensed on-site provider will perform optometry
     examinations and treatment for inmates incarcerated at the Facilities, to adequately
     attend to the needs of all inmates within the Facilities. Centurion wilt provide alt
     equipment necessary for rendering these services. Treatment and care, which is
     beyond the scope of expertise of the optometrist, shall be referred to an off-site
     ophthalmologist in accordance with specialty care referral procedures. Physician or
     nurse referrals to see an optometrist will be accomplished within thirty (30) days of
     referral, with corrective eyewear, as described below, being provided within thirty
     (30) days after being seen by the optometrist.

            3.6.1 Plastic eyeglasses shall be provided by Centurion to inmates requiring
    vision corrections or to inmates entering a Facility or Satellite Facility currently using
    some type of corrective tens. Centurion is required to replace broken or damaged lens
    only once per year, unless an eye condition requires replacement more frequently.
    Inmates are not allowed to wear contact lenses, and inmates entering a Facility or
    Satellite Facility wearing contact tens will require glasses supplied by Centurion to
    replace the contact lens. Special medical treatment requiring the wearing of
    replaceable contacts requires the approval of the MDOC Chief Medical Officer.
    Specialty-approved contact lenses and supplies shall be provided by Centurion.

    3.7    Auditory Services. Centurion shall provide an auditory services program for
    inmates incarcerated at the Facilities. A licensed audiologist will perform a hearing
    exam when ordered by a physician. If a hearing amplification device is indicated,


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     Centurion shalt supply and maintain the device. Centurion will not be expected to
     render payment for more than one (1) amplification device per person, unless
     medically required on a more frequent basis.

     3.8     Hospice Care. When indicated by the physician and accepted by the inmate,
     Centurion and MDOC wilt work together on a case-by-case basis to provide
     compassionate and palliative care within the palliative care unit at MSP using qualified
     compassionate and palliative care professionals. Centurion's contracted/employed
     physicians may recommend, where appropriate, and participate with MDOC staff in
     the evaluation of inmates who are eligible for Conditional Medical Release consistent
     with MDOC policy and State taw.

    3.9      Inmate Education. For inmates incarcerated in the Facilities and Satellite
    Facilities, Centurion shall develop, subject to the MDOC approval, a personal health
    education program minimally utilizing'posters and pamphlets. To further this health
    education process, formal sessions shall be made available based on the assessed
    educational needs of the committed persons and upon approval by the MDOC.
    Selected topics for these sessions may include, but are not limited to:

           Personal hygiene;
           Stress management;
           Tuberculosis and other communicable diseases;
           Hepatitis;
           Prevention of HIV infection and other sexually transmitted diseases;
           Diabetes;
           Hypertension and cardiac disease;
           Pregnancy, birth control; and women's health topics;
           Adverse effects of tobacco use;
           Adverse effects of alcohol and psychoactive drug use;
           Positive effects of physical activity;
           Positive effects of healthy diet; and
           Prevention of dental and periodontal disease.

    3.10 Inmate Grievances. Centurion personnel shalt follow MDOC policies,
    procedures, and timelines to be followed in the formal Administrative Remedy
    Program (ARP) for inmate complaints regarding any aspect of health care and in
    accordance with MDOC regulations. Reasonable, good faith attempts will be made to
    resolve inmate complaints on an informal face-to-face basis.

    3.11 Medical Records. Individual health care records will be initiated and
    maintained for every inmate regarding medical, dental or mental health services as a
    result of the inmate screening process or for services rendered following assignment to
    a Facility. The medical records shalt be initiated and maintained on the MDOC
    Electronic Health Record, EHR system.

            3.11.1 Electronic Health Records. The MDOC has invested in a comprehensive
    electronic health records (EHR) system. The system is owned by MDOC. The GE
    Centricity EHR was implemented in 2009. Centurion agrees to utilize and input data
    into the EHR as currently utilized by MDOC. MDOC is responsible for the cost of the
    software, licensing of the system and annual maintenance including software upgrades


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      and installation, additional licenses and server hardware. During the term of the
     Agreement, MDOC has requested, and Centurion has agreed, that Centurion will make
      all payments for software, licensing, upgrades, maintenance and other related costs
     directly to the EHR manufacturer, GE Healthcare, Inc. and MDOC will fully reimburse
     Centurion for all such payments within thirty (30) days of each such payment made by
     Centurion to GE Healthcare, Inc MDOC agrees to allow Centurion access to the medical
     data module of the EHR system via computers Located within the medical units.
     Centurion wilt ensure appropriate personnel are trained to utilize the system and that
     a format program for training wilt be in place for both Centurion's employees as well
     as appropriate MDOC personnel. Centurion will be responsible to input data into the
     system and keep all relevant data fields populated on a timely basis. As part of its
     training Centurion wilt emphasize the importance of data integrity and data
     consistency by those entering data into the EHR. Centurion and MDOC agree that
     health information in the EHR will be used in accordance with applicable
     confidentiality laws and regulations. Centurion will provide EHR help desk support for
     contract site users. MDOC shall possess sole ownership of all inmate medical records.
     Any applicable software or data will be transferred to MDOC upon termination of the
     contract.

             3.11.2 Facility medical records shalt be managed and made available to MDOC
    according to ACA and NCCHC standards. Centurion personnel, as custodian for the
    MDOC, shall maintain, retain, and timely transfer complete, standardized "Problem
    Oriented Medical Records" for inmates incarcerated in the Facilities and Satellite
    Facilities. The "SOAP" format for progress notes shall be used for such inmate
    records. The MDOC shall possess sole ownership of alt inmate medical records. Any
    applicable inmate medical record data will be transferred to the MDOC upon
    termination of this Agreement. Medical record information available electronically,
    will be transferred electronically in a delineated file format to the MDOC, as
    requested.

           Medical record forms will include, but are not limited to:

           a.   Completed receiving screening form;
           b.   Health appraisal data form;
           c.   Laboratory, radiology, and diagnostic studies;
           d.   Multidisciplinary progress notes, to include date and time of each
                encounter with signature and title of documenting staff;
           e.   Prescribed medications, treatments, findings, diagnoses, and disposition;
           f.   Consent and refusal forms;
           g.   Release of information forms;
           h.   Health care progress notes (e.g., dental, psychiatric, psychological
                evaluations, off -site consultation/specialty);
           i.   Problem list;
           j.   Discharge summaries of any hospitalizations;
           k.   Special treatment plan, if applicable; and
           l.   Physician orders and treatment plans.

           3,11.3 Medical records will be maintained with confidentiality as required by
    applicable law. The medical, dental and mental health records will be kept separate
    from the master file, working file and offender management file. Subject to


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     applicable taws, data necessary for the classification, security and control of inmates
     will be provided to the appropriate MDOC personnel. Medical records will be made
     available to MDOC officials, in accordance with applicable law, when requested or as
     required to defend any cause of action by any inmate against the MDOC. Health care
     information about an inmate shall be disclosed only in compliance with appropriate
     federal and state statutes and regulations. Adherence to applicable informed consent
     regulations and standards of the local jurisdiction must be maintained. Informed
     consent standards apply to all, invasive examinations, treatments, and procedures with
     the exception of emergency treatment where informed consent is implied, situations
     with advanced directives, and the treatment of communicable diseases.

            3.11.4 Release of medical records will only be made in accordance with
     Federal, State, and local regulations, and in accordance with MDOC policies and
     procedures.

            3.11.5 An EHR Summary document will accompany all inmates when
    transferred to off-site medical appointments or to a correctional facility outside the
    jurisdiction of MDOC. Centurion staff will complete MDOC transfer screening forms
    according to MDOC policy.

            111.6 Inactive medical records wilt be maintained at CMCF in accordance with
    the Laws of the State of Mississippi and the ACA and NCCHC Standards. After two (2)
    years, the inactive records may be stored off-site. The MDOC will provide storage,
    and cost of retrieval is the responsibility of Centurion or the requesting party.

            3.11.7 Where and to the extent that the Health Insurance Portability and
    Accountability Act of 1996 ("HIPAA"), Public Law 104-191, Titled Administrative
    Simplification, and the rules and regulations promulgated there under, are applicable
    to services contracted by Centurion, Centurion will comply with such provisions.

    3.12 Inmate Copay Services. Centurion shall be responsible for reporting various
    medical services provided to inmates in order to support the MDOC inmate copay
    process. A Centurion designated employee will summarize sick call and pharmacy
    services to be charged to inmates on a daily basis and provide to MDOC. Centurion
    will provide copay related data in a manner jointly agreed to by Centurion and MDOC.

    3.13 Management Information Services ("MIS"). MDOC will provide Centurion with
    private virtual circuit networking capability between the three main facilities and
    MDOC's central office and any other State operated facility, which may be added to
    the network. Centurion will provide the end user hardware and software to utilize the
    network. MDOC will assist Centurion in determining the appropriate equipment
    needed and provide access to the system.

            3.13.1 Centurion agrees to utilize and input data if requested, into the medical
    module of the Motorola OffenderTrack system. MDOC is responsible for the software,
    the licensing of the system and the annual maintenance. MDOC agrees to allow
    Centurion to have access to the medical data module of the OffenderTrack system via
    computers located within the medical units. MDOC will provide training and Centurion
    will ensure appropriate personnel are available for training to utilize the system.
    Centurion will be responsible for inputting data into the module and will if necessary


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     keep all appropriate fields of this module populated. MDOC agrees that medical
     information in this OffenderTrack system will be used in accordance with applicable
     confidentiality laws and regulations.

             3.13.2 MDOC will make available to Centurion in a jointly determined
     electronic format inmate information on a daily basis for purposes of updating
     Centurion's proprietary systems and relevant databases. The inmate information will
     include inmate name, date of birth, social security number, inmate DOC number and
     location. Any other relevant information required wilt be provided as mutually agreed
     in order to have current inmate eligibility.

            3.13.3 Centurion will provide to MDOC in a jointly determined electronic
     format, if available, inmate information on a periodic basis for purposes of updating
     MDOC's relevant databases. The inmate information requested will be provided in a
     mutually agreed format, Centurion medical staff shall communicate special medical
     problems and special needs to correctional and healthcare staff via verbal or written
     means and the use of appropriate "medical holds" in the OffenderTrack system.

            3.13.4 Inmate Transportation Data. Centurion's request for off-site medical
     transportation will be provided to MDOC in a format jointly agreed to by Centurion and
     MDOC.

    3.14 Permits and Licenses. All permits, licenses, certificates and accreditations
    required by federal, state or local laws, rules and regulations necessary for the
    implementation of the work undertaken by Centurion pursuant to this Agreement shalt
    be secured and paid for by Centurion. It is the responsibility of Centurion to have and
    maintain the appropriate certificate(s) valid for work to be performed and valid for
    the jurisdiction in which the work is to be performed for all persons working on the
    job for which a certificate is required. Centurion will pay for NCCHC accreditation
    surveys.

    3.15 Reporting Requirements. Centurion will provide periodic reports electronically
    when possible, to the MDOC Chief Medical Officer in a format and frequency set forth
    in Exhibit B to this Agreement. MDOC may request Centurion to provide ad hoc reports
    on a periodic basis. Centurion will use best efforts to provide MDOC with the data
    requested for these ad hoc reports in a timely manner.

    3.16 Accreditation. Centurion agrees to maintain successful NCCHC accreditation at
    MSP, CMCF and SMCI from the commencement of this Agreement until it terminates.
    Centurion will maintain compliance with Mt healthcare related ACA accreditation
    standards and will maintain ACA accreditation related to medical services for each
    Facility and Satellite Facility, Centurion agrees to work with the accreditation
    manager at each Facility and Satellite Facility to maintain current knowledge of ACA
    standards, participate in the accreditation process and to provide relevant documents.
    All accreditation-related documents and materials developed by Centurion for either
    NCCHC or ACA accreditation at MDOC Facilities and Satellite Facilities are the property
    of MDOC. Copies of these materials shall be provided to the MDOC NSA.

    ARTICLE IV -- SAFETY, PREMISES AND MATERIALS



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     4.1      Bio-Hazardous Waste. Centurion will arrange for disposal of all bio-hazardous
     medical waste material from the health care units at the Facilities and Satellite
     Facilities, and will provide for and bear the cost for an approved appropriate method
     of disposal of contaminated waste, including needles, syringes and other materials
     used in the provision of health care services at the Facilities and Satellite Facilities.
     These disposal methods shall be in compliance with all applicable standards and/or
     regulations, including OSHA, relevant to the disposal of bio-hazardous waste material.

             4.1.1 Centurion shall take appropriate measures to confirm that only
     biomedical waste material is deposited within the designated contaminated waste
     containers. Air filters used in air recirculation and air conditioning units, which are
     removed or replaced by the maintenance department in rooms considered to harbor
     air-borne pathogens shall also be treated as biomedical hazardous waste and disposed
     of accordingly.

             4.1.2 Centurion will confirm that all MDOC staff have received or will receive
     training in the proper handling and disposal of biomedical waste material. In addition,
     Centurion shall comply with all applicable laws and record keeping involving the
     handling and disposal of biomedical waste material.

    4.2     Infection Control. The infection control program describes resources that will
    help the healthcare provider in maintaining an environment that reduces unnecessary
    exposure to infectious and communicable diseases for inmates, security, and
    healthcare staff. The Infection Control Program will follow the guidelines and
    recommendations of the CDC, OSHA, MSDH and other pertinent documents related to
    infection control. The program will include written policies, procedures, and
    practices that define surveillance procedures to detect inmates with infectious and
    communicable disease, appropriate immunizations to prevent these diseases, the care
    that inmates with these diseases receive, including isolation when medically
    indicated, and compliance with treatment regimens, and shall be an ongoing process.

    4.3     Safety. Centurion will supply, check, and replace used supplies in first aid kits
    (two per each Facility unit), in compliance with ACA and NCCHC standards. The
    content of the first aid kits will be determined by the Centurion Medical Director, but
    at a minimum will include CPR shields, gloves, masks, biohazard cleanup kit, bandage
    supplies, eye supplies, iodine pads, and ammonia inhalant. In addition, Centurion will
    supply, check and replace used supplies in limited emergency first aid kits for MDOC
    emergency vehicles, as determined by the on-site health authority. In the training for
    MDOC staff provided by Centurion, as described in Section 4.1.2 of this Agreement,
    Centurion will include instruction on the use of items in the first aid kits,

    4.4      Space, Equipment and Supplies. Centurion shall provide all materials and
    supplies necessary for Centurion to deliver the services to inmates incarcerated in the
    Facilities, as required by this Agreement. These shall include, but are not limited to,
    medical, dental, optometry, diagnostic, mental health testing and office supplies
    required to provide comprehensive health care services. Centurion shall provide
    prosthetics, orthotics, and prosthetic appliances deemed necessary by the Facility
    physicians. All equipment and supplies must be reviewed by the MDOC for compliance
    with security requirements.



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             4.4.1 MDOC shall provide phone sets and local telephone service. Centurion
     shall be responsible for long distance service used by Centurion employees and
     independent contractors.

             4.4.2 AU medical equipment Listed in exhibit C is the property of MDOC.
     Centurion will be responsible for providing the repair, maintenance and certification
     of all equipment listed in exhibit C. If MDOC and Centurion determine that the
     equipment is beyond repair and/or the repair cost exceeds fifty percent (SO%) of the
     replacement value, then MDOC will replace equipment. Any medical equipment
     procured by MDOC wilt follow state procurement procedures.

     4.5    Inmate workers. Centurion will not assign inmate workers to health care
     related tasks of any kind, except for hospice care where appropriate and consistent
     with ACA and NCCHC standards. MDOC may assign inmate workers to the clinic,
     infirmary and hospital areas as janitorial orderlies.

     ARTICLE V — SERVICES TO MDOC EMPLOYEES

     5.1      Services to MDOC Employees. Centurion will provide certain limited and
     specified health care services for MDOC employees who work in the MDOC-run
     Facilities as described in Section 2.5 of this Agreement. Centurion shall conduct an
     annual TB test for MDOC personnel during annual statewide TB testing utilizing TST
     and IGRA as clinically appropriate. Centurion shalt conduct a TB test for each new
     employee of MDOC utilizing the TST and IGRA as clinically appropriate. In addition,
     Centurion shalt support the MDOC's provision of health services staff orientation at
     MDOC sponsored training.

          5.1.1 Centurion will assist the MDOC in providing educational services to
    MDOC personnel on the following topics and others as reasonably requested by MDOC:

            a. Crisis Intervention;
            b. First Aid for Medical Emergencies;
            c. Mental Health Emergencies;
            d. CPR Certification;
            e. Communicable Disease Prevention;
            f. Blood Borne Pathogen Exposure Control;
            g. Recognizing Signs and Symptoms of Mental Illness, Chemical Dependency
               and Mental Retardation;
            h. Suicide Prevention, Detection, Intervention, and Response;
            1. Abnormal Inmate Behavior;
            j. Stress Management; and
            k. ACA and NCCHC requirements.

    ARTICLE VI - SPECIAL NEEDS AND SERVICES

    6.1     Special Needs Plans. Centurion will develop an individual treatment plan for
    each inmate with a special care need and ensure enrollment in appropriate chronic
    care clinic (s).



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             6.1.1 Special needs treatment plans shall be developed for inmates with any
     of the following conditions:
                  A. chronic care (e.g., diabetes, heart disease, asthma, etc.)
                  B. convalescent cases
                  C. substance abuse cases
                  D. serious communicable diseases
                  E. physically disabled
                  F. developmentally disabled
                  G. serious mental health needs
                  H. frail or elderly
                  I. terminal illness
                  J. pregnancy
                  K. Youthful offender

              6.1.2 Inmates with special needs shall receive close medical supervision
     and/or multidisciplinary care. Inmates with special needs shall have a written,
     individualized medical treatment plan developed by the physician or other qualified
     health practitioner. This plan shalt address diet, exercise, medication, diagnostic
     monitoring, frequency of medical evaluation, adaptation to correctional setting, and
     areas of modification.

     ARTICLE VII -- COMPENSATION

    7.1      Average Daily Population ("ADP"). ADP is defined to mean the sum total of all
    daily administrative inmate population counts performed during a calendar month
    divided by the number of days during the calendar month. For purpose of reference,
    an administrative inmate population count (sometimes referred to as an administrative
    count) is performed at 12:00 midnight daily. The ADP includes inmates housed in
    Facilities and Satellite Facilities and any free world TB patients beings housed in the
    above listed locations. The ADP does not include any MDOC inmates housed in County
    jails or inmates that have been admitted to an off-site hospital.

          7.1.1 Inmates housed in County jails are not the medical or fiscal
    responsibility of Centurion.

    7.2     Compensation. The form of reimbursement under this Agreement is per diem
    based. Centurion shall be paid based upon the AM,' as calculated by the MDOC,
    subject to a guaranteed minimum floor payment. Should the ADP for any given month
    be less than the guaranteed population floor (the "Base ADP"), as set forth below, the
    monthly payment shall be based on the Base ADP. The MDOC shall pay Centurion the
    fixed per diem multiplied by the number of days in the month of service, times the
    Base ADP. Should the actual ADP be higher than the Base ADP, MDOC will pay
    Centurion a reduced fixed per diem for the difference in the actual ADP above the
    Base ADP. The MDOC shall provide Centurion with the current ADP calculation each
    Monday of the month, along with a final ADP calculation on the business day following
    the end of the month. Centurion shall submit an invoice in a format prescribed by the
    MDOC by the 3rd working day of the month following service, and the MDOC shalt
    remit payment via Electronic Funds Transfer (EFT) to Centurion by the 10th working
    day of the month, following the month of service.



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     Payments by MDOC using the Statewide Automated Accounting System (SAAS) shall be
     made and remittance information provided electronically as directed by the State_
     These payments shall be deposited into the bank account of Centurion's choice. MDOC
     may, at its sole discretion, require Centurion to submit invoices and supporting
     documentation electronically at any time during the term of this Agreement.
     Centurion understands and agrees that MDOC is exempt from the payment of taxes.
     All payments shall be in United States currency.

             7.2.1 MDOC will compensate Centurion for the services agreed to under this


                     !or
     Contract al a per diem rate oil. per inmate up to a Base ADP (guaranteed
     population floor) of 17.300 inmates. MDOC will compensate Centurion at a reduced
     per diem rate o         per in mate for any difference in the actual ADP above the Base
     ADP. The Base A       guaranteed population floor) shall be 17,300 inmates. For the
     second year of the contract, MDOC will compensate Centurion for the services agreed
     upon under this Contract at a per diem rate of $7.87 up to a Base ADP. MDOC will
     compensate Centurion at a reduced per diem rate of $2.80 per inmate for any
     difference in the actual ADP above the Base ADP. For year three of the contract,
     MDOC will compensate Centurion for the services agreed to under this Contract at a
     per diem rate of $8.12 per inmate up to a Base ADP. MDOC will compensate Centurion
     at a reduced per diem rate of 2.89 per inmate for any difference in the actual ADP
     above the Base ADP.

    MDOC and Centurion agree that, during the term of this Agreement, there could be an
    increase in the cost associated with pharmaceuticals for HIV due to changes in the
    number of inmates treated, an increase in the unit cost of HIV -related medications, a
    change in 3406 regulations or any other reason. Under any of these circumstances,
    Centurion will endeavor to keep the cost of HIV-related pharmaceuticals below $0.45
    PIPD. If the cost for HIV-related pharmaceuticals (inclusive of any management fees
    paid to the 3406 provider) incurred by Centurion for the contract period exceed $0.45
    PIPD, MDOC will pay to Centurion the difference between the total cost incurred by
    Centurion and $0.45 PIPD. In this event, Centurion will work with MDOC to find other
    cost savings within the Contract to offset this cost differential.

            7.2.2. The pricing as set forth in this Article VII assumes a population of 17,300
     inmates for the Facilities and Satellite Facilities contemplated herein, and further
    assumes that as population is added the population would be assimilated somewhat
    equally distributed in the Facilities consistent with the population distributions and
    staffing assumptions underlying this Agreement. Should the MDOC add inmate
    population, increase the numbers of inmates with chronic illnesses that require
    medical intervention, add or alter locations/sites to those covered under this
    Agreement. or should the proportionate distribution of population significantly differ
    from the population as it exists as of the commencement of this Agreement, and the
    occurrence of either results in the need to increase staffing or incur other costs above
    the Per Diem Rate, Centurion and the MDOC shall negotiate compensation adjustment
    to the per diem rate to cover the increased costs. Centurion shall submit to the MDOC
    Chief Medical Officer the recommendation for staffing increases necessary to maintain
    proper medical care. Upon approval of MDOC, compensation shall be adjusted for
    approved staff based on the applicable salaries and benefits at the time of the
    increased staffing. If operating costs are affected, Centurion shall submit to MDOC
    cost impact statement for review and approval. Should the inmate population drop


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     below the Base ADP, Centurion and MDOC agree to negotiate possible price
     adjustments to realize any potential cost savings to both parties.

     7.3        Limitations on Covered Expenses. The following services/costs are excluded
                from Centurion's responsibilities in providing services to the MDOC:

            •   ALL off-site specialty care referrals shall be at the expense of the MDOC. Final
                approval for off-site referrals is at the discretion of the MDOC Specialty Care
                Coordinator. The MDOC Chief Medical Officer will review all denials, discuss
                with referring physician and offer final approval as indicated.

           •    The MDOC will cover the cost of off-site emergency room visits and inpatient
                admissions.
           •    Centurion is responsible for only medically necessary on-site care and not for
                elective procedures or specialty services except as outlined in Section 2.10.

           •    MDOC shall provide for the transportation of incarcerated persons to any
                Location within the State of Mississippi as Centurion may deem necessary and
                appropriate for the health care of such person subject to the approval of
                MDOC. MDOC shall also arrange and pay for the use of any emergency medical
                transportation vehicle such as ambulances and medically equipped helicopters
                as necessary and appropriate for hospital-to -hospital emergency
                transportation. Centurion shall assume responsibility for emergency
                transportation from the correctional facility to the hospital emergency room as
                necessary. Centurion shall use its best efforts to make the most efficient use
                of emergency transportation and the accompanying security measures involved
                by judicious use of on-site resources, including specialists used on-site,
                simultaneous scheduling of multiple inmates for appointments, etc.

           •    The MDOC Specialty Care Coordinator shall be responsible for the arrangement
                and cost of all specialty care. Centurion shall provide STD, HIV, and TB clinics
                in conjunction with the Mississippi State Department of Health. MDOC shall
                provide specialty clinics to the maximum extent possible.

       •        All costs of Hepatitis C and specialty medications for bleeding disorders.

        •       Costs of HIV -related medication in excess of that set forth in Section 7.2.1.

    7.4     Non-Performance. A deduction may be taken in the event the MDOC has to pay
    for alternative sources of inmate health care due to non-performance by Centurion.
    The amount of the deduction shalt be taken from any money due to Centurion, and
    will be limited to the amount the MDOC would have otherwise paid to Centurion. The
    MDOC shall provide immediate written notification to Centurion of such proposed
    procurement of alternative sources, providing Centurion with a thirty (30) day period
    from date of notice in which to cure the non-performance, prior to commencing the
    deduction.

    7.5 Staffing Report and Vacancy Assessment. Centurion will provide MDOC a monthly
        staffing report based on biweekly payrolls that end in 4 week and 6 week intervals


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         as detailed in the Exhibit D, "Centurion of Mississippi LLC Schedule of Pay Periods"
         for the contract period. The staffing report, as referenced in Exhibit E, will
         include a list of all positions and the total hours paid. Twice during the term of
         this Contract, Centurion shall provide MDOC a reconciliation of total hours paid
         compared to Contract. If the monthly average hours paid falls below 90% of
         staffing patterns as required contractually statewide, Centurion shall be
         responsible to reimburse MDOC for the vacant positions up to the 90% threshold.
         The reimbursement rate shall be based on the standard hourly rate for the vacant
         position as outlined in Exhibit E. Hours shall be divided into the following three
         categories:

                       •   Providers including Physician, Physician Assistant! Nurse
                           Practitioner, Dentist, Pharmacist, Psychiatrist, Psychologist,
                           Nurses;
                       •   Clinical and Mental Health including all non-provider positions
                           other than administrative and clerical;
                       •   Administrative and Clerical staff including Medical Records
                           Director, Site Manager, Secretary, Administrative Assistant,
                           Medical Records Clerk, Unit Clerk, and other non -clinical staff.

            Reconciliation shall involve the calculation of actual hours paid to the
            contractually required hours. Variance in hours shalt be calculated at the
            Exhibit D rates and Centurion shall be responsible to reimburse MDOC the
            negative net value of the total reconciliation (up to the 90% staffing threshold).

            7.5.1 The first staff vacancy assessment will be due one hundred eighty (180)
     days after the start of the initial term of this Agreement.

     7.6     Compliance Audits and Liquidated Damages. Centurion will be responsible for
     meeting certain compliance standards based on the provisions of this Agreement.
     Compliance Reviews will be conducted each month using a mutually agreed upon
     methodology. MDOC wilt provide Centurion with written notification of the Review
     results within seven (7) days of completion of the Review. A Quarterly Audit will be
     conducted based on the monthly Compliance Reviews. After the first six months of
     the Agreement, MDOC may assess liquidated damages upon Centurion's failure to meet
     the compliance standards at each of the Facilities according to the following process:

     It is expected that Centurion shall meet each compliance standard 90% of the time for
    each Facility. If any compliance standard at any Facility does not meet the 90%
    threshold during a quarter, then a Plan of Correction for that compliance standard at
    that Facility Will be required. The Plan of Correction will be developed by Centurion
    and reviewed and approved by the MDOC Chief Medical Officer. The Plan of
    Correction will identify the deficiency, causes for the deficiency, proposed remedies
    for the deficiency, a specific timeline for remedies and a specific person who will be
    responsible for the remedy. A Plan of Correction must be completed by Centurion and
    approved by the MDOC Chief Medical Officer within thirty (30) days of the deficiency
    being identified in the written Compliance Audit. After submittal of the Plan of
    Correction, Centurion shall have an additional sixty (60) days to meet the 90%
    threshold before liquidated damages are assessed against it. If, for any quarter during
    the remaining life of the Agreement, Centurion fails to meet the 90% threshold for a


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     compliance standard at a Facility where a Plan of Correction for that compliance
     standard has been approved and the additional 60 -day period to come into compliance
     has lapsed without Centurion coming into compliance, then liquidated damages will be
     assessed lot that compliance standard at that Facility. The liquidated damages will
     include a penalty of        for every percentage point below the 90% threshold for
     each compliance standardat each Facility for the time period beginning on the 61''
     day after submission of the Plan of Correction.

            7.6.1       Liquidated damages will be based on the following compliance
     standards:

                   •     Emergent medications are filled and administered within 24 hours of
                        being prescribed.
                   •    Newly admitted inmates shall receive a comprehensive health
                        assessment and history within seven (7) days of intake (CMCF) (Section
                        2.7.1)
               •        Non -emergent health care (sick call) requests shall be triaged (face-to-
                        face encounter by a nurse) within twenty-four (24) hours of receipt
                        (date stamp) (Section 2.9.1)
               •        Sick call referrals by a triage nurse to a medical provider for non -
                        emergent issues shall be evaluated by a physician or mid -level
                        practitioner within seven (7) calendar days of receipt of the original
                        complaint (Section 2.9.1)
               •       All newly admitted inmates shall receive a dental exam within seven (7)
                       days of admission (CMCF)(Section 2.13.2)
               •       Alt inmates shall have routine dental prophylaxis no less than every two
                        (2) years (Section 2.13.3)
               •       Inmates referred for routine psychiatric evaluation upon intake shall be
                       seen by a psychiatrist within five (5) calendar days for initial urgent
                       mental health screenings (CMCF)(Section 2.14.6)
               •       Inmates referred for psychiatric evaluation in all cases except upon
                       intake shall be seen by a psychiatrist within fourteen (14) calendar days
                       of referral (Section 2.14.6)
               •       Inmates who are on psychotropic medications shall be seen by a
                       psychiatrist at least every ninety (90) calendar days (or more frequently
                       if deemed necessary by the prescribing psychiatrist), to include
                       telemedicine evaluations where appropriate (Section 2.14.6)
               •       Inmates referred by a physician or nurse shall be seen by an optometrist
                       within thirty (30) calendar days of the referral (Section 3,6).
               •       A licensed radiologist shall interpret all radiographs the next workday
                       and provide written results within forty eight (48) hours after reading
                       (Section 3.4,1).

           7.6.2 Liquidated damages shall be charged for all required reports in Exhibit B
    determined to be filed late. A report shall be considered late if received by the MDOC
    Chief Medical Officer after the following date:

           Daily reports - due the following day and considered late if not received by the
           second business day following the reporting date.



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            Monthly reports due by the 25th day of the following month or the first
            business day following the 25th day of the following month.

            Quarterly reports - due by the 25th day of the following month or the first
            business day following the 25th day of the following month.

            Annual report - due March 31 of each year.

     MDOC shall immediately notify Centurion in writing upon the delinquency of any
     required report. The liquidated damages for delinquency of any category (daily,
     monthly, quarterly or annual) of required report shall be    per report for each
     workday from the date Centurion was provided written rigirCation of delinquency
     until such report has been received in full by MDOC.

            7.6.3 Centurion shalt include adequate information in its monthly reports to
     determine its compliance with the required standards. The reports shall contain such
     information in a manner that can be independently verified including numbers of
     inmates subject to the requirements, numbers and percentages where Centurion met
     the Agreement requirements and numbers and percentages where Centurion failed to
     meet the requirement.

            7.6.4 Centurion's failure to have on call for 24/7 emergency medical and
     mental health services shall be subject to a       per day fine. Centurion's failure to
     provide emergency dental care in accordance with section 2.13.1 shall be subject to a
            per occurrence fine.

            7.6.5 MDOC will conduct quarterly compliance audits using the agreed upon
    methodology. MDOC will provide Centurion with written notification of the audit
    results within thirty (30) days of completion of the audit. Centurion shall have thirty
    (30) days to respond in writing regarding any noncompliance and shall provide MDOC
    with a written explanation of corrective actions taken, including if applicable,
    evidence of such corrective actions Centurion shall then have an additional sixty (60)
    days to meet the 90% threshold for compliance with the items outlined as out of
    compliance in the Audit Report before Liquidated damages are assessed against it.

            7.6.6 This Section 7 of the Agreement sets forth the total agreement of the
    Parties relating to the topics and potential amounts of liquidated damages/penalties
    and withholds.

    ARTICLE VIII -- TERM AND TERMINATION

    8.1     Term of Agreement. This Agreement is effective upon the execution of it by
    the duly authorized representatives of both Parties. The term of this Agreement
    commences as of July 1, 2016 and continues through June 30, 2019. This Agreement
    may be renewed at the discretion of MDOC upon written notice to Centurion at least
    sixty (60) days prior to the contract anniversary date for a period of one (1) successive
    year. The total number of renewal years permitted shall not exceed two (2).

    8.2    Termination. This Agreement may terminate as follows:



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            8.2.1 If the Parties do not mutually agree to extend this Agreement pursuant
     to Section 8.1 above, then this Agreement will terminate at the end of the term; or

             8.2,2 In the event that either Party shall give notice to the other Party that
     such other Party has defaulted in the performance of a material obligation hereunder,
     and such default shall not have been cured within sixty (60) days following the giving
     of such notice in writing, then the Party giving such notice shall have the tight to
     terminate this Agreement thirty (30) days following the foregoing sixty (60) day cure
     period; or

            8.2.3 In the event that the MDOC and Centurion mutually agree in writing to
     terminate this Agreement prior to the end of a term hereunder, then this Agreement
     may be terminated on such terms and on such date as stipulated in the written
     agreement; or

            8,2.4 Either Centurion or MDOC may terminate this Agreement without cause
     with a 180 day written notification to the other party.

     ARTICLE IX -- STATE/MDOC UNDERTAKINGS

     9.1    Undertakings. The MDOC will perform the following:

            9.1.1 Direct its employees, representatives, and contractors to take all
     actions required or reasonable to achieve NCCHC certification of the health program;

           9.1.7 Provide security services and all other assistance necessary for the safe
    and orderly provision of medical care by Centurion personnel and contracted
    providers;

            9.1.3 Provide all necessary utilities, including telephone service, provided
    that Centurion shall pay for the actual cost of long distance telephone
    communications. An itemized log shall be submitted monthly by Centurion identifying
    long distance to include date; number called and estimated length of call. Centurion
    may elect to install direct tines or equipment to capture this information to eliminate
    the logging;

           9.1.4 Provide electronic connectivity between the three major institutions
    (MSP, CMCF and SMCI) for use by Centurion;

            9,1.5 Provide administrative space for use by Centurion in the Facilities and
    Satellite Facilities, on an "as available" basis, which will include existing office
    furniture in place;

           9.1.6 Provide clean bedding/linens for the medical use of Centurion within
    the Facilities;

           9.1.7 Provide structural maintenance of the Facilities, MDOC departmental
    approved infrastructure changes, general maintenance and housekeeping where
    Centurion and its personnel and contracted providers are to provide health care
    services;


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             9.1.8 Provide non -emergency transportation of incarcerated persons to any
     location within the State of Mississippi for the health care of such persons as deemed
     medically necessary and appropriate by both the MDOC Chief Medical Officer and
     Centurion;

             9.1.9 Mandate a dose working relationship, open communication and
     cooperation between Centurion, Superintendents, the transportation section, and/or
     their designated representatives, to minimize the impact upon MDOC's staffing,
     available vehicles, to operate within funding constraints, and to meet the inmates'
     health care needs as determined by healthcare personnel. To this end, the site NSA
     shall serve as the designated staff person to be the institutional/section liaison
     representative;

           9.1.10 In the case of intrastate medical moves, the on -site Centurion
     Administrator will, coordinate with the site HSA;

             9.1.11 Medical moves to MDOC facilities from the counties and/or out of state
     will be the responsibility of the MDOC. Notification of these authorized moves will be
     coordinated with Centurion;

            9.1.12 Provide security to Centurion's employees, staff, and contracted
    providers, consistent with that currently provided at individual Facilities. In addition,
    the MDOC will provide security procedures to protect Centurion's pharmaceuticals and
    supplies; provided, however, that Centurion will be responsible for enforcing
    compliance with MDOC security procedures among Centurion employees and
    contractors;

           9.1.13 Provide and pay for food (including that required by written order of
    Centurion as medical diet) to incarcerated persons. Centurion or the contracted
    providers will make written diet orders consistent with medical needs, and will not
    make recommendations for religious diets. Nutritional supplements, i.e., Ensure and
    Boost, ordered by a physician shall not be considered food, but shall be treated as a
    prescription and will be the responsibility of Centurion.

            9.1.14 Provide and pay for all services except those covered under section 7.3,
    Limitations on Covered Expenses.

            9.1.15 In order for this Agreement to be successful, MDOC and Centurion must
    work together in partnership to resolve concerns, issues and disputes as identified by
    Centurion; as such, the MDOC will provide access to MDOC senior staff for guidance in
    policy and procedures, and will timely address any issues brought forth by Centurion to
    the satisfaction of both the MDOC and Centurion.

    9.2    Availability of Funds. It is expressly understood and agreed that the obligation
    of the MDOC to proceed under this Agreement is conditioned upon the appropriation of
    funds by the Mississippi State Legislature and the receipt of state and/or federal
    funds. If the funds anticipated for the continuing fulfillment of the Agreement are, at
    any time, not forthcoming or insufficient, either through the failure of the federal
    government to provide funds or of the State of Mississippi to appropriate funds or the


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     discontinuance or material alteration of the program under which funds were provided
     or if funds are not otherwise available to the MDOC, the MDOC shalt have the right
     upon ten (10) days written notice to Centurion, to terminate this Agreement without
     damage, penalty, cost or expenses to the MDOC of any kind whatsoever. The effective
     date of termination shalt be as specified in the notice of termination. MDOC
     specifically agrees that no federal funds shall be paid to Centurion under this
     Agreement.

            9.2.1 The MDOC wilt make payment for services rendered by Centurion up to
     the termination date of this Agreement. This provision shall not be construed so as to
     permit the MDOC to terminate this Agreement in order to acquire similar services from
     another entity.

     9.3     Monitoring. The MDOC shalt have the right to monitor Centurion's performance
     hereunder. This shall include reasonable access to documents, books, and records of
     Centurion that directly relate to this Agreement, for the purpose of audit, review, or
     reconciliation. In addition, the MDOC has the right to visit at any time any healthcare
     unit in any Facility in which Centurion has contracted to provide services to MDOC,
     MDOC agrees however, that in making such site visits, it will make good faith effort to
     do so in a manner contemplated to create the least disruption to care delivery at the
     site. To the extent that MDOC uses agents or third parties to perform such functions,
     MDOC will agree to have such parties enter confidentiality agreements regarding
     Centurion proprietary or trade secret information, which may be disclosed in the
     monitoring process.

     ARTICLE X -- INSURANCE AND INDEMNIFICATION

     10.1 Indemnification and Representation. To the fullest extent allowed by law,
     Centurion shall indemnify, defend, save and hold harmless, protect, and exonerate the
     MDOC, its commissioners, board members, officers, employees, agents, and
     representatives, and the State of Mississippi from and against all, claims, demands,
     liabilities, suits, actions, damages, losses, and costs of every kind and nature
    whatsoever, including, without limitation, judgments, court costs, investigative fees
     and expenses, and attorney's fees, concerning, arising out of or caused by Centurion
    and/or its partners, principals, agents, employees and/or subcontractors in the
    performance of or failure to perform this Agreement. Centurion shall use legal counsel
    acceptable to the State. Centurion shall be solely responsible for all costs and/or
    expenses associated with such defense after it accepts an indemnification tender from
    the State. Centurion shall not settle any such claim, suit, etc. without the State's
    concurrence. Centurion's obligations, duties, and responsibilities under this section
    include, but are not limited to, the obligations, duties, and responsibilities contained
    in Miss. Code. Ann. 5 47-5-1219. Centurion's obligations, duties, and responsibilities
    under this section include, but are not limited to, the continued duty to defend and
    indemnity MDOC and its officials and employees in DePriest et al V. Walnut Grove
    Correctional Authority et al, 3:10-cv-00663-CWR-FKB, (S.D. Miss.) and Dockery et al v.
    Epps, eta!, 3:13-cv-00326-WHB-JCG (S.D. Miss.).

          10.1.1 This indemnification clause shall survive the termination of this
    Agreement.



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              10.1.2 MDOC hereby assumes the entire responsibility and liability for any and
     all damages or injury of any kind or nature, including death, proven to have resulted
     from MDOC's acts or omissions to all persons, including MDOC's employees, officers or
     agents and for all property damage caused by, or arising out of, the services
     performed by MDOC pursuant to this Agreement. MDOC will defend, at its expense,
     any actions filed against it or any of its employees, as defined by statute, based upon
     its performance of this Agreement. Centurion shall not be responsible for providing
     representation for the State of Mississippi, MDOC and its employees in any such action.

     10.2 Insurance. Copies of insurance certificates shall be filed with the MDOC
     Medical Compliance Officer within ten (10) days of award notice, and before the
     effective date of the Agreement.
            10.2.1 Centurion shall maintain, at its expense, the established levels of
     insurance as shown below for Workers' Compensation, Professional Liability,
     Comprehensive General Liability and Property Insurance.
     Workers' Compensation and Employees Liability in an amount of not less than One
     hundred thousand ($100,000) dollars.
     Professional Liability: $1,000,000 per occurrence and $3,000,000 in the aggregate
     annually.
     Comprehensive General (Public) Liability to include (but not limited to) the following:
            A,   Premises/Operation
            B.   Independent Contractors
            C.   Personal Injury
            D.   Contractual. Liability-Bodily Injury $1,000,000.00 per occurrence
            E.   Property damage $1,000,000.00 per occurrence
            F.   Fidelity Bond on Centurion's employees at $50,000

             10.2.2 Prior to the effective date of the Agreement, Centurion shall furnish the
            MDOC with an appropriately executed certificate of insurance. Such certificate
            shall identify the Agreement and contain provisions that coverage afforded
            under the policies shall not be canceled, terminated or materially altered. AU
            insurance certificates will provide coverage to the MDOC as an additional
            insured.
           10.2.3 Failure on the part of Centurion to procure and maintain the required
    insurance and provide proof thereof to the MDOC, shall constitute a material breach of
    the Agreement, upon which the MDOC may immediately terminate the Agreement.
            10.2.4 Centurion shall ensure that all subcontractors performing healthcare
    services under this Agreement meet the insurance requirements listed in this Section.

    ARTICLE XI -- GENERAL PROVISIONS

    11.1 Changes in Scope. The Parties agree that should there be any change in
    standards of care, including but not limited to a change in any material respect to any
    treatment protocol or modality or if any new medication or therapy is introduced to treat
    any illness, disease or condition, scope of services, State laws, regulations or policy,
    ACA or NCCHC standards, court orders or negotiated settlement of inmate-related


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     litigation that results in material costs to Centurion and the costs related to such changes
     or modifications are not covered in this Agreement, then Centurion will request that the
     MDOC increase its compensation in an amount equal to the actual, direct increased cost
     incurred by Centurion. If medical advances result in a substantial per patient cost
     decrease for Centurion, the MDOC may seek a corresponding decrease from
     Centurion. Any such adjustments shall be fully documented and attached to the
     Agreement in the form of amendments.

       11.2 Confidentiality. It is understood that in the course of the engagement
      established under this Agreement, each Party may learn of or obtain copies of
      confidential or proprietary software, systems, manuals, documents, protocols,
      procedures, or other materials developed by or belonging to the other Party, and not
      generally available to the public (the "Confidential Information"). All Confidential
      Information of a Party shall be and remain the property of the Party originally having
      ownership thereof, during the term of this Agreement and thereafter. Confidential
      Information shall not include information, which is or becomes public knowledge
      through no fault of the receiving Party or its employees, agents or representatives.
      Neither Party will, without the express written consent of the other Party, use the
      Confidential Information of the other Party, except as expressly contemplated by this
      Agreement, and the receiving Party shall cease all use of the other Party's
      Confidential Information upon the termination or expiration of this Agreement.
      Except as required by law or legal process, each Party shall maintain the
     confidentiality of the Confidential Information provided hereunder, and shall not
     disclose such information to any third parties. Notwithstanding any provision to the
     contrary contained herein, it is recognized that MDOC is a public agency of the State
     of Mississippi and is subject to the Mississippi Public Records Act, Mississippi Code
     Annotated 5525-61-1 et seq. (1972, as amended). If a public records request is made
     for any information provided to MDOC pursuant to the agreement, MDOC shall
     promptly notify the disclosing party of such request and will respond to the request
     only in accordance with the procedures and limitations set forth in applicable taw. The
     disclosing party shall promptly institute appropriate legal proceedings to protect its
     information. No party to the agreement shall be liable to the other party for
     disclosures of information required by court order or required by law.
      11.3 MDOC Records Available to Centurion with Limitations on Disclosure. During
     the term of this Agreement and for a reasonable time thereafter, the MDOC will
     provide Centurion, at Centurion's request, the MDOC's records relating to the
     provision of health care services to inmates as may be requested by Centurion or as
     are pertinent to the investigation or defense of any claim related to Centurion's
     conduct. The MDOC will make available to Centurion such records as are maintained
     by the MDOC, hospitals, and other outside health care providers involved in the care or
     treatment of inmates (to the extent the MDOC has any claim to those records) as
     Centurion may reasonably request consistent with applicable law; provided, however,
     that any such information released by the MDOC to Centurion that the MDOC considers
     confidential will be kept confidential by Centurion and will not, except as may be
     required by law, be distributed to any third party without prior written approval by
     the MDOC.

    11.4 Centurion Records Available to MDOC with Limitations on Disclosure. During
    the term of this Agreement and for a reasonable time thereafter, Centurion will
    provide MDOC, at MDOC's request, the Centurion records relating to the provision of


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     health care services to inmates as may be requested by MDOC or as are pertinent to
     the investigation or defense of any claim related to MDOC's conduct. Centurion will
     make available to MDOC such records as are maintained by Centurion, hospitals, and
     other outside health care providers involved in the care or treatment of inmates (to
     the extent Centurion has any claim to those records) as MDOC may reasonably request
     consistent with applicable law; provided, however, that any such information by
     Centurion to MDOC that Centurion considers confidential will be kept confidential by
     MDOC and will not, except as may be required by law, be distributed to any third
     party without prior written approval by Centurion.

      11.5 No Third Party Beneficiary Rights. The Parties do not intend to create in any
     other individual or entity, including but not limited to any inmate or patient, the
     status of third party beneficiary, and this Agreement shall not be construed so as to
     create such status. The rights, duties and obligations contained in this Agreement
     shall operate only between the Parties to this Agreement, and shall inure solely to the
     benefit of such Parties. The provisions of this Agreement are intended only to assist
     the Parties in determining and performing their obligations hereunder. The Parties
     intend and expressly agree that only Parties signatory to this Agreement shall have any
     legal or equitable right to seek to enforce this Agreement, to seek any remedy arising
     out of a Party's performance or failure to perform any term or condition of this
     Agreement, or to bring an action for the breach of or for damages or relief under this
     Agreement.

     11.6 Independent Contractor Status. Centurion shall, at all times, be regarded as
     and shalt be legally considered an independent contractor and shall at no time act as
    an agent for the MDOC. Nothing contained herein shall be deemed or construed by the
    MDOC, Centurion, or any third party as creating the relationship of principal and
    agent, master and servant, partners, joint ventures, employer and employee, or any
    similar such relationship between the MDOC and Centurion. Neither the method of
    computation of fees or other charges, nor any other provision contained herein, nor
    any acts of the MDOC or Centurion hereunder creates, or shall be deemed to create a
    relationship other than the independent relationship of the MDOC and Centurion.
    Centurion's personnel shall not be deemed in any way, directly or indirectly, expressly
    or by implication, to be employees of the State. Neither Centurion nor its employees
    shall, under any circumstances, be considered servants, agents, or employees of the
    MDOC; and the MDOC shall be at no time legally responsible for any negligence or
    other wrongdoing by Centurion, its servants, agents, or employees. The MDOC shall
    not withhold from the contract payments to Centurion any federal or state
    unemployment taxes, federal or state income taxes, Social Security tax, or any other
    amounts for benefits to Centurion. Further, the MDOC shall not provide to Centurion
    any insurance coverage or other benefits, including Workers' Compensation, normally
    provided by the State for its employees.
    11.7 Anti-Assignment/Subcontracting. Centurion acknowledges that it was selected
    by the MDOC to perform the services required hereunder based, in part, upon
    Centurion's special skills and expertise. Centurion shalt not assign, subcontract or
    otherwise transfer this Agreement in whole or in part without the prior written
    consent of the MDOC, which the MDOC may, in its sole discretion, approve or deny
    without reason. Any attempted assignment or transfer of its obligations without such
    consent shalt be null and void. No such approval by the MDOC of any subcontract shall


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      be deemed in any way to provide for the incurrence of any obligation of the State in
     addition to the total fixed price agreed upon in this Agreement. Subcontracts shall be
     subject to the terms and conditions of this Agreement and to any conditions of
     approval that the MDOC may deem necessary. Subject to the foregoing, this
     Agreement shalt be binding upon the respective successors and assigns of the Parties.
     Subject to the foregoing, MDOC recognizes that Centurion may subcontract portions of
     its duties set forth in this Agreement to subcontractors, and that unless the amount of
     such subcontract exceeds S25„000, no pre-approval of the subcontract by MDOC is
     required. Further, for the subcontractors identified by Centurion in its RFP Response,
     no pre-approval of the subcontract by MDOC is required.

     11.8 Notice. All notices or other communications required or permitted to be given
     under this Agreement shall be in writing and shall be deemed to have been duly given
     if delivered personally in hand, delivered by independent guaranteed overnight courier
     service, or mailed certified mall, return receipt requested, postage prepaid on the
     date posted, and addressed to the appropriate Party at the following address or such
     other address as may be given in writing by a Party to the other Party:

     If to the MDOC:

     Dr. Gloria Perry, Chief Medical Officer
     Mississippi Department of Corrections
     633 North State Street
     Jackson, MS 39202

    With a copy to:
    Marshall Fisher, Commissioner
    Mississippi Department of Corrections
    633 North State Street
    Jackson, MS 39202

    If to Centurion:

    Steven H. Wheeler, CEO
    Centurion of Mississippi, LLC
    1593 Spring Hill Road, Suite 610
    Vienna, VA 22182

    11.9 Applicable Law. This Agreement shall be governed by and construed in
    accordance with the laws of the State of Mississippi, excluding its conflicts of laws,
    provisions, and any litigation with respect thereto shall be brought in the courts of the
    State. Centurion shall comply with applicable federal, state and local laws and
    regulations.

    11.10 Entire Agreement. This Agreement, together with the documents referenced in
    Article I above, constitutes the entire agreement of the Parties and is intended as a
    complete statement of the promises, representations, negotiations, discussions and
    agreements that have been made in connection with the subject matter hereof. No
    modification or amendment to this Agreement shall be binding upon the Parties unless
    the same is in writing and signed by the respective parties hereto.


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     11.11 Waiver of Breach. No delay or omission by either party to this Agreement in
     exercising any right, power, or remedy hereunder or otherwise afforded by this
     Agreement, at law, or in equity shall constitute an acquiescence therein, impair any
     other right, power or remedy hereunder or otherwise afforded by any means, or
     operate as a waiver of such right, power, or remedy. No waiver by either party to this
     Agreement shall be valid unless set forth in writing by the party making said waiver.
     No waiver of or modification to any term or condition of this Agreement will void,
     waive, or change any other term or condition. No waiver by one party to this
     Agreement of a default by the other party will imply, be construed as or require
     waiver of future or other defaults.
     11.12 Force Majeure. Each party shall be excused from performance for any period
     and to the extent that it is prevented from performing any obligation or service, in
     whole or in part, as a result of causes beyond the reasonable control and without the
     fault or negligence of such party and/or its subcontractors. Such acts shalt include
     without limitation acts of God, strikes, lockouts, riots, acts of war, epidemics,
     governmental regulations superimposed after the fact, fire, earthquakes, floods, or
     other natural disasters ("force majeure events"). When such a cause arises, Centurion
     shall notify the MDOC immediately in writing of the cause of its inability to perform,
     how it affects its performance, and the anticipated duration of the inability to
     perform. Delays in delivery or in meeting completion dates due to force majeure
     events shall automatically extend such dates for a period equal to the duration of the
     delay caused by such events.
     11.13 Severability. In the event any provision of this Agreement is held to be
     unenforceable for any reason, the unenforceabitity thereof shall not affect the
     remainder of the Agreement which shall remain in full force and effect and
     enforceable in accordance with its terms.

     11.14 Compliance with Laws. Centurion understands that the State is an equal
    opportunity employer and therefore maintains a policy which prohibits unlawful
    discrimination based on race, color, creed, sex, age, national origin, physical
    handicap, disability, or any other consideration made unlawful by federal, state or
    local taws. All such discrimination is unlawful and Centurion agrees, during the term
    of the Agreement, that Centurion will strictly adhere to this policy in its employment
    practices and provision of services. Centurion shall comply with, and all activities
    under this Agreement shalt be subject to, all applicable federal, state of Mississippi,
    and local laws and regulations, as now existing and as may be amended or modified by
    federal, state or local laws. Centurion shall comply with all court orders and agrees to
    provide medical care that meets all new requirements of state and federal law and
    the Eight Amendment to the United States Constitution.

    11.15 Procurement Regulations. The Agreement shall be governed by the applicable
    provisions of the Personal Service Contract Review Board Rules and Regulations, a copy
    of which is available at 210 East Capitol Street, Suite 800, Jackson, Mississippi 39201
    for inspection, or downloadable at hap: / iwww.mspb.ms.gov.

    11.16 Contingent Fees. Centurion represents that it has not retained a person to
    solicit or secure a State contract upon an agreement or understanding for a



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     commission, percentage, brokerage, or contingent fee, except as disclosed in the
     Centurion's bid or proposal.

     11.17 Gratuities. Centurion represents that it has not violated, is not violating, and
     promises that it will not violate the prohibition against gratuities set forth in Section
     6-204 (Gratuities) of the Mississippi Personal Service Contract Review Board Rules and
     Regulations.

     11.18 Amendments. Centurion and MDOC agree that the Agreement may be amended
     at any time, by mutual written agreement of the Parties.

      11.19 Authority to Contract. Centurion warrants (a) that it is a validly organized
     business with valid authority to enter into this Agreement; (b) that it is qualified to do
     business and in good standing in the State of Mississippi; (c) that entry into and
     performance under this Agreement is not restricted or prohibited by any loan, security,
     financing, contractual, or other agreement of any kind, and (d) notwithstanding any
     other provision of this Agreement to the contrary, that there are no existing legal
     proceedings or prospective legal proceedings, either voluntary or otherwise, which may
     adversely affect its ability to perform its obligations under this Agreement.

     11.20 Mississippi Employment Protection Act. Centurion represents and warrants that
     it will ensure its compliance with the Mississippi Employment Protection Act of 2008,
     and will register and participate in the status verification system for all newly hired
    employees. Mississippi Code Annotated Section 71-11-1 et seq. (1972, as amended).
    The term "employee" as used herein means any person that is hired to perform work
    within the State of Mississippi. As used herein, "status verification system" means the
     Illegal Immigration Reform and Immigration Responsibility Act of 1996 that is operated
    by the United States Department of Homeland Security, also known as the E -Verify
    Program, or any other successor electronic verification system replacing the E-Verify
    Program. Centurion agrees to maintain records of such compliance. Upon request of
    the State, and after approval of the Social Security Administration or Department of
    Homeland Security when required, Centurion agrees to provide a copy of each such
    verification. Centurion further represents and warrants that any person assigned to
    perform services hereunder meets the employment eligibility requirements of all
    immigration laws. Centurion understands and agrees that any breach of these
    warranties may subject Centurion to the following: (a) termination of this Agreement
    and ineligibility for any state or public contract in Mississippi for up to three (3) years,
    with notice of such cancellation/termination being made public, or (b) the loss of any
    license, permit, certification or other document granted to Centurion by an agency,
    department or governmental entity for the right to do business in Mississippi for up to
    one (1) year, or (c) both. In the event of such termination/cancellation, Centurion
    would also be liable for any additional costs incurred by the State due to contract
    cancellation or loss of license or permit.

    11.21 Change in Scope of Work. The MDOC may order changes in the work consisting of
    additions, deletions, or other revisions within the general scope of the Agreement. No
    claims may be made by Centurion that the scope of the project or of Centurion's
    services has been changed, requiring changes to the amount of compensation to
    Centurion or other adjustments to the Agreement, unless such changes or adjustments



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      have been made by written amendment to the Agreement signed by the MDOC and
      Centurion.

      11.22 Stop Work Order. The Procurement Officer of MDOC, may, by written order to
     Centurion at any time, and without notice to any surety, require Centurion to stop all
     or any part of the work catted for by this Agreement. This order shalt be for a specified
     period not exceeding 90 days after the order is delivered to Centurion, unless the
     Parties agree to any further period. Any such order shall be identified specifically as a
     stop work order issued pursuant to this clause. Upon receipt of such an order,
     Centurion shalt forthwith comply with its terms and take all reasonable steps to
     minimize the occurrence of costs allocable to the work covered by the order during
     the period of work stoppage. Before the stop work order expires, or within any further
     period to which the Parties shall have agreed, the Procurement Officer shall either:
            A. Cancel the stop work order; or,
             B. Terminate the work covered by such order as provided in the 'Termination
                 for Default Clause' or the 'Termination for Convenience Clause' of this
                Agreement.
     Cancellation or Expiration of the Order. If a stop work order issued under this clause is
     canceled at any time during the period specified in the order, or if the period of the
     order or any extension thereof expires, Centurion shall have the right to resume work.
     An appropriate adjustment shall be made in the delivery schedule or Centurion price,
     or both, and the Agreement shalt be modified in writing accordingly, if:
            A. The stop work order results in an increase in the time required for, or in
                Centurion's cost properly allocable to, the performance of any part of this
                Agreement; and,
            B. Centurion asserts a claim for such an adjustment within 30 days after the
                end of the period of work stoppage; provided that, if the Procurement
                Officer decides that the facts justify such action, any such claim asserted
                may be received and acted upon at any time prior to final payment under
                this Agreement.

      11.23 Attorney's Fees and Expenses. Subject to other terms and conditions of this
     Agreement, in the event Centurion defaults in any obligations under this Agreement
     such that the State opts to terminate for cause and is successful in any legal challenge
     to said for cause termination, Centurion shall pay to the State all costs and expenses
     (including, without limitation, investigative fees, court costs, and attorney's fees)
     incurred by the State in defending the legal action regarding the termination of this
     Agreement. Centurion agrees that under no circumstances shall the State customer be
     obligated to pay any attorney's fees or costs of legal action to Centurion.

     11.25 Centurion Personnel. The MDOC shalt, throughout the life of the Agreement,
     have the right of reasonable rejection and approval of staff or subcontractors assigned
     to the work by Centurion. if the MDOC reasonably rejects staff or subcontractors,
     Centurion must provide replacement staff or subcontractors satisfactory to the MDOC
     in a timely manner and at no additional cost to the MDOC. The day-to-day supervision
     and control of Centurion's employees is the sole responsibility of Centurion.




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     11.26 E -Payment. Centurion agrees to accept all payments in United States currency
     via the State of Mississippi's electronic payment and remittance vehicle. The MDOC
     agrees to make payment in accordance with Mississippi law on "Timety Payments for
     Purchases by Public Bodies," which generally provides for payment of undisputed
     amounts by the MDOC within forty-five (45) days of receipt of invoice. Miss. Code Ann.
     S31-7-305 (1972, as amended).

     11.27 Oral Statements. No oral statement of any person shall modify or otherwise
     affect the terms, conditions, or specifications stated in this Agreement. All
     modifications to the Agreement must be made in writing by the MDOC and agreed to
     by Centurion.

     11.28 Recovery of Money. Whenever, under the Agreement, any sum of money shall be
     recoverable from or payable by Centurion to MDOC, the same amount may be
     deducted from any sum due to Centurion under the Agreement. The rights of MDOC
     are in addition and without prejudice to any other right MDOC may have to claim the
     amount of any toss or damage suffered by MDOC on account of the acts or omissions of
     Centurion.

     11.29 Third Party Action Notification. Centurion shall give MDOC prompt notice in
     writing of any action or suit filed, and prompt notice of any claim made against
     Centurion by any entity that may result in litigation related in any way to this
     Agreement.

      11.30 Transparency. This Agreement, including any accompanying exhibits,
      attachments, and appendices, is subject to the "Mississippi Public Records Act of
      1983", and its exceptions. See Miss. Code Ann. SS 25-61-1 et seq., (1972, as amended)
     and Miss. Code Ann. SS 79-23-1 (1972, as amended). In addition, this Agreement is
     subject to the provisions of the Mississippi Accountability and Transparency Act of
     2008. Miss Code Ann. SS 27-104-151 et seq. (1972 as amended). Unless exempted from
     disclosure due to a court -issued protective order, a copy of this executed contract is
     required to be posted to the Department of Finance and Administration's independent
     agency contract website for public assess at http://www.transparency.mississippi.Rov.
     Information identified by Centurion as trade secrets, or other proprietary information,
     including confidential Centurion information, or any other information which is
     required confidential by state or federal law or outside the applicable freedom of
     information statutes, will be redacted.




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     IN WITNESS WHEREOF, the Parties hereto have caused their duty appointed
     representatives to set their hands and seats hereto as of the day and year first above
     written.

                                         MISSISSIPPI DEPARTMENT OF CORRECTIONS


                                                                   c,19
     Attest:

                                         Title: ebrnii-1,,SCO



                                         CENTURION OF MISSISSIPPI, LLC



                                         By:
                                               54-e4....e-, 44. c_i2l
                                         Title: Cov-,&"                   if:9‘.-C7c-QC




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                                    ATTACHMENT B
To July 1, 2016 Agreement between Mississippi Department of Corrections and Centurion of
Mississippi, LLC for Onsite Inmate Health Services




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                                               Amendment One
     In addition to the terms and conditions set forth In the original agreement between the State of Mississippi
     Department of Corrections and Centurion of Mississippi, LLC for onsite inmate health services effective
     July 1,2016 through June 30, 2019. the following Amendment one is made part of the originaiagreement

     Effective July 1, 2019, both patties agree to enact the option to renew the Agreement for an additional
     year. The election of the optional renewal shall extend the end date of this agreement to June 30, 2020.

     Effective July 1, 2019, both parties agree to add the following to Section 7.2,1:

             Contract Section 7.2.2 and RIP Sections 43 and 4.24.2(1) allowed an optional price adjustment
             not to exceed the medical consumer price index for the Mississippi area and requiring mutual
             agreement. Pursuant to the Consumer Price index for Alt Urban Consumers (CPI-11) for the
             Southern Region for January 2019, prices for medical care professional services rose two percent
             (2%) over the past year (January 2018-2019). Therefore, MDOC will compensate Centurion for the
             services agreed to under Amendment One (year four of the contract) at a per diem rate of ..11
             per inmate up to a Rase ADP and at a reduced per diem rate of      per inmate for any difference
             in the actual ADP above the Base ADP.

            Although MDOC shall be financially responsible for all other specialty care services, specifically all
            Hepatitis C medications, specialty medications for bleeding disorders, and HIV medication cost in
            excess of those set forth in the second paragraph of Section 7.21 of the agreement, the
            Contractor may provide such items at cost to MDOC as long as said provision meets the State's
            needs without sacrifice of economy or sertices and is a demonstrated cost savings to the State
            annually. MDOC will perform a cost comparison of the individual rates and cost of same items
            provided by the Contractor to those provided to the State via the DFA OPTFM contract, Morris &
            Dickson Company Cooperative Agreement for Pharmaceuticals (MiVICAP). Provision of
            Contractor's rates are required annually congruent with the contract renewal determination, if
            the Contractor's rates and cost are determined not to be in the best interest of the State, MDOC
            shall cancel in whole or in part the Contractor's provision of Hepatitis C medications, specialty
            medications for bleeding disorders, and HIV medication cost in excess of those set forth in the
            second paragraph of Section 7.2.1 of the agreement.

    Effective July 1, 2019, In accordance with the Public Procurement Review Board Office of Personal Service
    Contract Review Rules arid Regulations (effective May 2018), both parties agree that the following
    amended/added to the agreement:

    Section 1,1, Governing Documents This Contract, any amendments thereto, and all exhibits (Exhibits A
    through E) to this Contract constitute the entire agreement of the parties with respect to the subject
    matter contained herein and supersedes or replaces any and all prior negotiations, understandings and
    agreements, written or oral, between the parties relating thereto.

    Second paragraph of Section 7.2, Compensation, Payments by state agencies using the State's accounting
    system shall be made and remittance information provided electronically as directed by the State. These
    payments shall be deposited into the bank account of Contractor's choice, The State may, at its sole
    discretion, require Contractorto electronically submit Invoices and supporting documentation at any time




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     during the term of this Agreement. Contractor understands and agrees that the State is exempt from the
     payment of taxes. All payments shall be In United States currency.

     Section 11.2, Cenfidentialley.. Notwithstanding any provision to the contrary contained herein, it is
     recognized that MDOC is a public agency of the State of Mississippi and is subject to the Mississippi Public
     Records Act. Mississippi Code Annotated e§ 25-614 et seq. if a public records request is made for any
     information provided to MDOC pursuant to the agreement and designated by the Contractor in writing as
     trade secrets or other proprietary confidential information, MOOC shall follow the provisions of
     Mississippi Code Annotated §5 25-61-9 and 75-23-1 before disclosing such information. The MDOC shall
     not be liable to the Contractor for disclosure of information required by court order or required by law.

     Section 11,8, Notices. All notices required or permitted to be given under this agreement must be in
     writing and personally delivered or sent by certified United States malt postage prepaid, return receipt
     requested, to the party to whom the notice should be given at the address set forth below,. Notice shall
     be deemed given when actually received or when refused. The panics agree to promptly notify each other
     in writing of any change of address.

     For Contractor: Steven H. Wheeler, CEO
                     Centurion of Mississippi, LI.0
                     1593 Spring Hill Road, Suite 610
                     Vienna, VA 22182

     For the agency: Dr. Gloria Perry, Chief Medical Officer
                     Mississippi Department of Corrections
                     633 North State Street Jackson, MS 39202

     With a copy to: Pelicia E. Hall, Commissioner
                     Mississippi Department of Corrections
                     633 North State Street Jackson, MS 39202

    Section 11,9, Applicahlp law. The contract shall be governed by and construed in accordance with the
    laws of the state of Mississippi, excluding its conflicts of laws provisions, and any litigation with respect
    thereto shall be brought in the courts of the State. Contractor shall comply with applicable federal, state,
    and local laws and regulations.

     Section 11.10, Entire Agreement. This amendment and the original agreement, including all contract
    documents, represents the entire and integrated agreement between the parties hereto and supersedes
    all prior negotiations, representations or agreements, irrespective of whether written or oral. This
    agreement may be altered, amended, or modified only by a written document executed by the State and
    Contractor. Contractor acknowledges that it has thoroughly read all contract documents and has had the
    opportunity to receive competent advice and counsel necessary for it to form a full and complete
    understanding of all rights and obligations herein. Accordingly, this agreement shall not be construed or
    Interpreted in favor of or against the State or Contractor on the basis of draftsmanship or preparation
    hereof.

    Section 1114, Compliance with Lpw. Contractor understands that the (State] is an equal opportunity
    employer and therefore, maintains apolicy which prohibits unlawful discrimination based on race, color,
    creed, sex, age, national origin, physical handicap, disability, genetic Information, or any other




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     consideration made unlawful by federal, state, or local laws. All such discrimination is unlawful and
     Contractor agrees during the term of the agreement that Contractor will strictly adhere to this policy in
     Its employment practices and provision of services. Contractor shall comply with, and all activities under
     this agreement shall be subject to, all applicable federal, State of Mississippi, and local laws and
     regulations, as now existing and as may be amended or modified.

     Section 11.15, Procurement Reetilat ions. The contract shall be governed by the applicable provisions of
     the Mississippi Public Procurement Review Board Office of Personal Service Contract Review Rules and
     Regulations, a copy of which Is available at 501 North West Street, Suite 701E, Jackson, Mississippi 39201
     for inspection, or downioadable at litto://teeeso91o.eaoely.

     Section 11.174 Reoresentailon Regarding Gratui(ies. The bidder, offeror, or Contractor represents that it
     has not violated, is not violating, and promises that it will not violate the prohibition against gratuities set
     forth in Section 6-204 (Gratuities) of the Mississippi Public Procurement Review Board Office of Personal
     Service Contract Review Roles and Regulations.

     Section 11.22, Stop Work Order.
      1) Order to Stop Work: The Chief Procurement Officer, may, by written order to Contractor at any time,
           and without notice to any surety, require Contractor to stop all or any part of the work called for by
           this contract. This order shall be for a specified period not exceeding SO days after the order is
           delivered to Contractor, unless the parties agree to any further period. Any such order shall be
           identified specifically as a stop work order issued pursuant to this clause. Upon receipt of such an
           order, Contractor shall forthwith comply with Its terms and take all reasonable steps to minimize the
          occurrence of costs allocable to the work covered by the order during the period of work stoppage.
           Before the stop work order expires, or within any further period to which the parties shall have
          agreed, the Chief Procurement Officer shall either:
          a. cancel the stop work order; or,
          b. terminate the work covered by such order as provided in the Termination for Default clause or
               the Termination for Convenience clause of this contract.
     2) Cancellation or Expiration of the Order: If a stop work order issued under this clause is canceled at any
          time during the period specified in the order, or if the period of the order or any extension thereof
          expires, Contractor shall have the right to resume work. An appropriate adjustment shall be made in
          the delivery schedule or Contractor price, or both, and the contract shall be modified in writing
          accordingly, if;
          a. the stop work order results in an increase in the time required for, or in Contractor's cost properly
               allocable to, the performance of any part of this contract; and,
          b. Contractor asserts a claim for such an adjustment within 30 days after the end of the period of
               work stoppage; provided that, if the Chief Procurement Officer decides that the facts justify such
               action, any such claim asserted may be received and acted upon at any time prior to final payment
               under this contract.
    3) Termination of Stopped Work: if a stop work order is not canceled and the work covered by such order
         is terminated for default or convenience, the reasonable costs resulting from the stop work order
        shall be allowed by adjustment or otherwise.
    4) Adjustments of Price: Any adjustment in contract price made pursuant to this clause shall be
        determined in accordance with the Price Adjustment clause of this contract.

    Section 11.26, E-payment. Contractor agrees to accept all payments in United States currency via the State
    of Mississippi's electronic payment and remittance vehicle. The agency agrees to make payment in




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     accordance with Mississippi law on "Timely Payments for Purchases by Public Bodies," which generally
     provides for payment of undisputed amounts by the agency within forty-five (45) days of receipt of
     Invoice. Mississippi Code Annotated § 31-7-301 et seq..

     Section 11.31, 6_pproval. It is understood that if th s contract requires approval by the Public Procurement
     Review Board and/or the Mississippi Department of Finance and Administration Office of Personal Service
     Contract Review and this contract is not approved by the PPRB and/or OPSCR, it is void and no payment
     shall be made hereunder.

     Section 11.32, Trade Secrets, Comm" cial and Financial Information. It is expressly understood that
     Mississippi law requires that the provisions of this contract which contain the commodities purchased or
     the personal or professional services provided, the price to be paid, and the term of the contract shall not
     be deemed to be a trade secret or confidential commercial or financial Information and shall be available
     for examination, copying, or reproduction.

     Section 11.33, Termination for Convenience.
     1) Termination. The Agency Head or designee may, when the interests of the State so require, terrWnate
         this contract in whole or in part, for the convenience of the State. The Agency Head or designee shall
        give written notice of the termination to Contractor specifying the part of the contract terminated
         and when termination becomes effective.
     2) Contractor's Obligations. Contractor shall incur no furtner obligations in connection with the
        terminated work and on the date set in the notice of termination Contractor will stop work to the
        extent specified. Contractor shall also terminate outstanding orders and subcontracts as they relate
        te the terminated work. Contractor shall settle the liabilities and claims arising cut of the termination
        of subcontracts and orders connected with the terminated work. The Agency Head or designee may
        direct Contractor to assign Contractor's right title, and interest under terminated orders or
        subcontracts to the State. Contractor must still complete the work not terminated by the notice of
        termination and may incur obligations as are necessary to do so.

    Section 11.34, Tv nination for Default.
     1) Default. If Contractor refuses or fails to perform any of the provisions of this contract with such
         diligence as will ensure Its completion within the time specified in thls contract or any extension
         thereof, or otherwise fails to timely satisfy the contract provisions, or commits any other substantial
         breach of this contract, the Agency Head or designee may notify Contractor in writing of the delay or
         nonperformance and If not cured In ten (10) days or any lorger time specified in writing by the Agency
        Head or designee, such officer may terminate Contractor's right to proceed with the contract or such
        part of the contract as to which there has been delay or a failure to properly perform. In the event of
        termination in whole or in pan, the Agency Head or designee may procure similar supplies or services
        in a manner and upon ter Ms deemed appropriate by the Agency Head Or designee. Contractor shall
        continue performance of the contract to the extent It is not terminated and shalt be liable for excess
        costs incurred in procuring similar goods or services.
    2) contractor's- Duties. Notwithstanding termination of the contract and subject to any directions from
        the Chief Procurement Officer, Contractor shall take timeiy, reasonable, and necessary action to
        protect and preserve property in the possession of Contractor in which the State has an interest.
    3) Compensation. Payment for completed services delivered and accepted by the State shall be at the
        contract price. The State may withhold from amounts due Contractor such sums as the Agency Head
        or designee deems to be necessary to protect the State against loss because of outstanding liens or




                                                                                                       JEREMY 001383
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         claims of former lien holders and to reimburse the State for the excess costs incurred in procuring
         similar goods and services,
     4) Excuse for Nonperformance or Delayed Performance. Except with respect to defaults of
         subcontractors, Contractor shall not be in default by reason of any failure in performance of this
         contract in accordance with Its terms (including any failure by Contractor to make progress in the
         prosecution of the work hereunder which endangers such performance) if Contractor has notified the
         Agency Head or designee within 15 days after the cause of the delay and the failure arises out of
         causes such as: acts of God; acts of the public enemy; acts of the State and any other governmental
         entity in its sovereign or contractual capacity; fires; floods; epidemics; quarantine restrictions; strikes
         or other labor disputes; freight embargoes; or unusually severe weather. If the failure to perform Is
         caused by the failure of a subcontractor to perform or to make progress, and if such failure arises out
         of causes sirnilar to those set forth above, Contractor shall not be deemed to be in default, unless the
        services to be furnished by the subcontractor were reasonably obtainable from other sources in
        sufficient time to permit Contractor to meet the contract requirements. Upon request of Contractor,
        the Agency Head or designee shall ascertain the facts and extent of such failure, and, if such officer
        determines that any failure to perform was occasioned by any one or more of the excusable causes,
        and that, but for the excusable cause, Contractors progress and performance would have met the
        terms of the contract, the delivery schedule shall be revised accordingly, subject to the rights of the
        State under the clause entitled (in fixed-price contracts, 'Termination for Convenience," in cost-
        reimbursement contracts, 1-ermlnationl, (As used in this Paragraph of this clause, the term
        "subcontractor' means subcontractor at any tier).
    5) Erroneous Termination for Default. If, after notice of termination of Contractor's right to proceed
        under the provisions of this clause, It Is determined for any reason that the contract was not in default
        under the provisions of this clause, or that the delay was excusable under the provisions of Paragraph
        (4) (Excuse for Nonperformance or Delayed Performance) of this clause, the rights and obligations of
        the parties shall, if the contract contains a clause providing for termination for convenience of the
        State, be the same as if the notice of termination had been issued pursuant to such clause.
    6) Additional Rights and Remedies. The rights and remedies provided in this clause are In addition to any
        other rights and remedies provided by law or under this contract.

    Section 11.34, Termination upon Bankruptcy. This contract may be terminated in whole or In part by
    MDOC upon written notice to Contractor, If Contractor should become the subject of bankruptcy or
    receivership proceedings, whether voluntary or involuntary, or upon the execution by Contractor of an
    assignment forthe benefit of its creditors. in the event of such termination, Contractor shall be entitled
    to recover just and equitable compensation for satisfactory work performed under this contract, but in
    no case shah said compensation exceed the total contract price.

    All other terms and conditions of the original agreement not in conflict of this amendment shall remain in
    full force and effect.




                                                                                                       JEREMY 001384
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     In witness whereof, the Parties hereto have caused their duly appointed representatives to set their hands
     and seals hereto on the date indicated below,


     Mississippi Department of Corrections:


       utIcti
     Date
                                                     BV:   (.3,10tAhl.6(1),t0
                                                     Tit1e: Cb`rkiniSSI:thal—

     Centurion of Mississippi, LLC


     6/4/2018                                        Br
     Date                                                  Steven H. Wheeler
                                                     Title:Chief Executive Officer




                                                                  REVIEWED BY MDOC LEDAL COUNSEL
                                                                              IN 1 7 2019
                                                                       CIt
                                                                        am.4.72..
                                                                        PROVED FOR SIGNATURE




                                                                                                   te




                                                                                                  JEREMY 001385
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                                    ATTACHMENT C
To July 1, 2016 Agreement between Mississippi Department of Corrections and Centurion of
Mississippi, LLC for Onsite Inmate Health Services




                                                                           JEREMY 001386
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                                       Amendment Two
                               To the Agreement By and Between
                       State of Mississippi Department of Corrections
                                                And
                                 Centurion of Mississippi, LW


  In addition to the terms and conditions set forth in the original agreement between the Sta:e of
  Mississippi Department of Corrections ("MDOC") and Centurion of Mississippi, LLC
  ("Centurion") for onsite inmate health services effective July 1, 2016, through June 30, 2019
  ("Agreement") and Amendment One, the following Amendment Two is made part of the original
  Agreement,
  Effective July 1, 2020, both Parties agree to renew the Agreement for an additional six (6) months.
  Either party may terminate the Agreement for convenience by providing the other party with at
  least ninety (so) day written notice.
  Pursuant to section 7.2.1 of the Agreement and Amendment One, the Parties mutually agree lo a
  price adjustment. MDOC will compensate Centurion for services agreed to under Amendment
  Two ( year five of the contract) at a per diem rate of per inmate per day up to the Base ADP
  and at a reduced per diem rate of IIMIper inmate per day for any difference in the actual ADP
  above the Base ADP.
  All other terms and conditions of the original Agreement and Amendment One not in confla of
  this Amendment Two shall remain in full force and effect.




                                                                                      JEREMY 001387
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    In witness whereof, the Parties hereto have caused their duly appointed representatives to set their hands
    and seals hereto on the date indicated below.


    Mississippi Department of Corrections:


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    Da0 (
                     P1()
                                                             By:     jeEr-g-ave
                                                             Title:Cage/ 35xe4

    Centurion of Mississippi, LLC:

     6/30/2020                                                                 (kik_
                                                             By:            •
    Date                                                           Steven I-I. Wheeler
                                                             Title: Chief Executive Officer




    Approved by:                     G/P/_)___                     REVIEWED BY MDOC LEGAL COUNSEL
                                kariel McDon2id
                       Deputy cognn*sioner Admin. Os
                                                   Finance                   JUN tsIVO
                                                                      (,APPR JED? SIG&TIN




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                                                                                               JEREMY 001388
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                               Amendment to Service Agreement No.
                                        Mississippi Department Of Corrections

WHEREAS, on August 12, 2020 a Service Agreement (the "Agreement') was entered into by and among Mississippi
Department of corrections (MDOC) and VitalCore Health Strategies, LLC, (VitalCore) to provide Health Care Services to the
inmates within the Mississippi Department of Corrections facilities. The Agreement, by its terms, provides for amendment
upon the written agreement of all parties; and

WHEREAS, Effective October 12, 2020, in accordance with the Public Procurement Review Board Office of Personal Service
Contract Review Rules and Regulations (effective May 2018), both parties agree that the following be amended/added to
the agreement;

WHEREAS, MDOC and VitalCore wish to amend that agreement to include additional services and funding for four (4)
positions to provide the technical work supporting, scheduling and monitoring of offsite health care services and
appointments for the inmates within the MDOC system;

rr IS THEREFORE AGREED:

    1. Contract Obligations In addition to the terms and conditions set forth in the original agreement between MDOC
       and VitalCore, effective October 12, 2020, VitalCore shall be responsible for setting up and monitoring offsite
       healthcare appointnients and hospitalitations. It shall remain the responsibility of MDOC to provide payment for
       said services.

    2.   Payment of Services :—Effective October 12, 2020, the payment for staffing services will increase from SEM per
         inmate per day to NM per inmate per day.

    3. Staffine— To promote offsite patient service stabilization, the staffing plan is hereby increased to include:

         a, 4.0 FTE (40 hours) LPNs

In witness whereof, the parties have signed this instrument.

Executed this the >' da,y
                      •- f October                     , 2020.


                                                                  Date:         I t)/5/.2e00
Viola Rig&
CEO-Co-Owner
VitalCore Health Strategies, LLC


                                                                 Date:
Owl C
Commissioner
Mississippi Department of Corrections




Karel M o ald
                 it                                              Date:     /0

Deputy Col missioner, Finance
Mississippi Department of Corrections

                                                                                                  JEREMY 001389
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06£1.00
AIAI3131



           Employees to Transition to VitalCore

           Positions to move to VitalCore and IVIDOC pays for them
           If addendum to contract can be done
                                                                                                      MDOC
                                                            Rate/Hr   Hrs         Weekly   Annual     SS/Med      Total
           Specialty Care Coordinator Nurses (LPN)



                                                                                                                   $      128,167.23

           Hospital Utilization Nurses (LPN)




           Total.positions and S's to reimburse VitalCore                                                          $      243,034.08




           Total positions and $'s to reimburse VitalCore

           Total positions and $'s to reimburse VitalCore                                                          $     243,034.08
           Original Price of Contract 17,300 inmates x $8.53 per inmate per day                                      $53,862,685.00
           With additional 4 FIE                                                                                   $ 54,105,719.08
           Per Inmate Per year new calculation                                                                     5       3,127.50
           Per inmate Per Day new Calculation                                                                      5           8.57
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                                Amendment to Service Agreement No. 2

                                         Mississippi Department Of Corrections

WHEREAS, on August 12, 2020 a Service Agreement (the "Agreement") was entered into by and among Mississippi
Department of Corrections (M00C) and VitalCore Health Strategies, LIC, (VitalCore) to provide Health Care Services to
the inmates within the Mississippi Department of Corrections facilities, The Agreement, by its terms, provides for
amendment upon the written agreement of all parties; and

WHEREAS, M DOC and VitalCore wish to amend that agreement to Include services and funding sixteen (16) positions to
provide the technical work supporting CMA services for CMCF to provide additional coverage for the separation from
one clinic to four clinic medication administration sites at CMCF. This staff shall provide medication administration
services for the inmates within the MDOC system;

WHEREAS, MOOG and VitalCore wish to amend that agreement to include services and funding two (2) positions to
provide the technical work supporting the scheduling, approving, processing, cleaning, and registering all health care
offsite service claims for Inmates receiving care outside of the MDOC facilities. The payments for these billable offsite
services will remain the responsibility of the MDOC, Claims will be submitted to the M DOC for payment processing
within 15 days receipt of a clean claim from the vendor.

WHEREAS, MDOC and VitalCore wish to amend that agreement to Include an extension of performance of all
comprehensive services by VitalCore In accordance with the original Agreement dated August 12, 2020 and the first
amendment to the Agreement dated October 4, 2020, and this Amendment No 2. That extension shall include funding
for eighteen new positions outlined in this Agreement to provide the technical work supporting CMA services for CMCF
to provide additional coverage for the separation from one clinic to four clink medication administration sites at CMCF.
This staff shall provide medication administration services for the Inmates within the MOOC system. And, the full
responsibility of the claims processing for inmate offsite healthcare services




IT IS THEREFORE AGREED:

   1, Contract Obligations —This amendment only amends the addition of responsibility (VitalCore's set up and
      monitoring of offsite health service claims and the addition of 18 FTE) and the annual 5% increase customary to
      this contract, arid does not in any way change any other language or term of the original contract dated, August
      12, 2020.
   2. Payment of Services — Effective July 1, 2021, the payment will increase for services outlined in this Amendment
      and the Original Agreement from= per Inmate per day to                          per inmate per day,
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      September -341,-202-eteThis-dateefeexte-nsioneissubject -to -ehange-withaa-90-da-y-vvritten-riotice from-MDOCato
      V it-alCeeeea
   4. Staffine- Staffing increase to promote onsite medication administration stabilization and the claims processing
      staff include:

        a.   16.0 FTE (40 hours per FTE) CMA's at CIVICF
        b.   2.0 FTE (40 hours per FTE) Administrative Claims Processing staff




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                                                                                                     JEREMY 001391
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IN WITNESS WHEREOF, the patties have signed this instrument.




 aie
Viola fliggin
                                                               Date:   712712021

CEO -Co-Owner
VitalCote Health Strategies, LLC



Bud Cain,
Commissioner
Mississippi Department of Corrections



                                                                        '-7/41r5/11
Karel McDonald
Deputy Commissioner, Finance
Mississippi Department of Corrections




                                                                                           JEREMY 001392
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                                                                                     Ct: 8400002010




                            SECOND EMERGENCY AGREEMENT
                    BETWEEN MISSISSIPPI DEPARTMENT OF CORRECTIONS
                        AND VITALCORE HEALTH STRATEGIES, LLC
                       FOR ONSITE INMATE HEALTH CARE SERVICES


         THIS SECOND EMERGENCY AGREEMENT (`Second Agreement") is entered into as of this
the 5'h day of October, 2021 by and between the Mississippi Department of Corrections (hereinafter
referred to as "MDOC") and VitalCore Health Care Strategies, LLC ("VitalCore"). The MDOC and
VitalCore are sometimes referred to herein collectively as the "Parties" or individually as "Party."

                                              WITNESSETH:

          WHEREAS, the MDOC is responsible for the care and control of inmates within its custody,
whether incarcerated in state correctional facilities, county regional facilities or privately operated
facilities; and

         WHEREAS, on July 1, 2016 the MDOC entered into an agreement ("Original Agreement") with
Centurion of Mississippi, LLC ("Centurion") through REP No. 16-009 to provide or arrange for the
provision of medical, dental, pharmacy and mental health services for inmates in its custody at the
following facilities: Mississippi State Penitentiary ("MSP") at Parchman, Mississippi; Central Mississippi
Correctional Facility ("CMCF"), and Youthful Offender Unit ("YOU"), at Rankin County, Mississippi,
South Mississippi Correctional Institute ("SMCI"), at Leakesville, East Mississippi Correctional Facility
("EMCF"), at Meridian, Wilkinson County Correctional Facility ("WCCF") at Woodville, Walnut Grove
Correctional Facility ("WGCF") at Walnut Grove, and Marshall County Correctional Facility ("MCCF")
at Holly Springs, (known as the "Facilities"). The Original Agreement also included responsibilities for
services at MDOC's fifteen County Regional Sites, seventeen Community Work Centers; and for
minimum security inmates residing at the three male Restitution centers, and the Governor's Mansion
(collectively known as the "Satellite Facilities" and Individually as a "Satellite Facility)"; and

        WHEREAS, the Original Agreement was amended on June 17, 2019 and June 30, 2020; and

        WHEREAS, on July 7, 2020 Centurion gave ninety (90) days written notice of termination of the
Original Agreement.; and

         WHEREAS, due to the short notice of termination, MDOC was faced with the limitations and
risks of being without a vendor to provide healthcare services as outlined in the Original Agreement and
lacked sufficient time to conduct a fair and competitive procurement process to establish an alternate
vendor; and

      WHEREAS, on October 6, 2020 MDOC and VitalCore entered an Emergency Agreement ("First
Agreement") for Onsite Inmate Healthcare Services; and

        WHEREAS, the First Agreement was amended on October 5, 2021 and July 27, 2021.

        NOW THEREFORE, in consideration of mutual covenants and agreements contained herein, the
"Parties" agree as follows:

ARTICLE I THROUGH ARTICLE XI. INCORPORATION OF PREVIOUS TERMS — Article I through
Article XI of the Original Agreement between MDOC and Centurion, dated July I, 2016, Amendment
Number 1 dated June 17, 2019 and Amendment Number 2 dated June 30, 2020 are hereby made part of,


                                                                                                           '4,
                                                                                           JEREMY 001393
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 and incorporated into this Second Agreement. Except as provided herein below, MDOC and VitalCore
 agree to honor those ARTICLES as written.

 ARTICLE XII. NON -WAIVER OF BIDDING RIGHTS - VitalCore shall have the right to offer a
 competitive proposal on any RFP for inmate healthcare services released by the MDOC without any
 prejudice or penalty brought on by the signing of this Second Agreement between the Parties.

ARTICLE XIII. PAYMENT STRUCTURE — Notwithstanding ARTICLE VII COMPENSATION,
MDOC agrees to compensate Vital Core at an increased per diem rate of $8.902568 per inmate per day up
to a Base ADP (guaranteed population floor) of 17,300 inmates.

Subsequently, VitalCore and MDOC agree to re-evaluate the payment structure and negotiate an
appropriate per inmate per day payment if the cost of healthcare, administration, and litigation defense
services exceeds the monthly payment.

ARTICLE XIV. LIMITS OF LIABILITY VitalCore shall not be responsible for any work product,
grievance, litigation, liability, debt, nor any other inmate health care processes prior to midnight October
5, 2020. However, VitalCore understands that litigation for declaratory and injunctive relief is pending,
and that VitalCore's obligations, duties and responsibilities under this section include, but are not limited
to, the duty to defend and indemnify MDOC and its officials and employees in Amos v. Taylor, 4:20-CV-
07-DMB-JMV (N.D. Miss.) and Lang v. Taylor, 4:20-CV-00030-DMB-RP (ND. Miss.) after October 6,
2020. VitalCore shall be responsible for any work product, grievance, litigation, liability, debt, or any
other inmate health care process based upon its performance of the Original Agreement after October 6,
2020, pursuant to Article X of the Agreement with Centurion.

ARTICLE XV TERM. Notwithstanding ARTICLE VIII TERM AND TERMINATION, of the Original
Agreement, VitalCore and MDOC agree to provide Onsite Inmate Health Care Services beginning
October 6, 2021 and ending October 5, 2022.

ARTICE XVI PERSONNEL. Notwithstanding ARTICLE II HEALTHCARE AND RELATED
SERVICES, Section 2.3 Personnel of the Original Agreement, Vital Core shall be responsible for setting
up and monitoring offsite healthcare appointments and hospitalizations. It shall remain the responsibility
of MDOC to provide payment for said services. To promote offsite patient service stabilization, the
staffing plan is hereby increase to include 4.0 FTE (40 hours) LPNs.

Vital Core shall also be responsible for setting up and monitoring offsite health service claims and the
addition of 18 FTE.




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                                                                                           JEREMY 001394
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IN WITNESS WHEREOF, the Parties hereto have caused their duly appointed representatives to set forth
hands and seals hereto as of the day and year first above written.


ATTEST-.                                      MISSISSIPPI DEPARTMENT OF CORRECTIONS


                                              BY:
                                                 BURL CA      COMMISSIONER
               Pep.       pi tow,ele_.


DATE       forNsi                             DATE


ATTEST:                                       VITALCORE HEALTH ST                  S, LLC


                                         BY:
TITLE: We           of fyf lictAin(410000    VIOLA RIGGINS, CEO-CO-OWNER


 Mao/n.4
DATE
                                                i0/ i/42014
                                              DATE




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